                                          674 Filed 06/13/23
        Case 1:20-cv-10832-AT-SN Document 841       10/21/22 Page 1 of 85



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------x
SECURITIES AND EXCHANGE COMMISSION,                                     :
                                                                        :
                                             Plaintiff,                 :   20 Civ. 10832 (AT) (SN)
                                                                        :
                           - against -                                  :   ECF Case
                                                                        :
RIPPLE LABS, INC., BRADLEY GARLINGHOUSE, :
and CHRISTIAN A. LARSEN,                                                :
                                                                        :
                                             Defendants.                :
                                                                        :
------------------------------------------------------------------------x




 PLAINTIFF SECURITIES AND EXCHANGE COMMISSION’S MEMORANDUM OF
 LAW IN OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT



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                                            674 Filed 06/13/23
          Case 1:20-cv-10832-AT-SN Document 841       10/21/22 Page 2 of 85



                                                      TABLE OF CONTENTS

                                                                                                                                                   Page

TABLE OF AUTHORITIES.................................................................................................... v
PRELIMINARY STATEMENT .............................................................................................. 1
COUNTER-STATEMENT OF FACTS .................................................................................. 3
   I.    RIPPLE OFFERED AND SOLD XRP WHILE PROMISING TO DEVELOP
         “USES” THAT COULD INCREASE XRP’S VALUE. ................................................................ 3
         A. Touting Their Strong Financial Motivations to Do So, Defendants Stated they
            Would Undertake Significant, Expensive Efforts to Find Value for XRP. .......................... 4
         B. Defendants Offered and Sold XRP as an Investment, Not as a “Currency.”...................... 4
         C. Defendants Engaged in the Extensive Efforts they Promised to Undertake. ..................... 5
   II. RIPPLE’S SOFTWARE SALES PALED IN COMPARISON TO ITS XRP SALES............. 6
   III. RIPPLE SOLD XRP FOR CASH AND OTHER CONSIDERATION................................... 8
         A. Ripple’s Institutional and Programmatic Sales Were All in Exchange for Cash,
            and Made Pursuant to Written and Implied Contracts. ........................................................... 8
         B. Ripple’s Other XRP Distributions Were Indirect Distributions into Public
            Markets Pursuant to Written Contracts and in Exchange for Consideration. ..................... 9
   IV. THE INDIVIDUAL DEFENDANTS’ DOMESTIC XRP OFFERS AND SALES. ...........10
ARGUMENT .......................................................................................................................... 11
   I.    THE INVENTED “ESSENTIAL INGREDIENTS” TEST FAILS. ......................................12
         A. Howey and Federal Securities Law, Not Pre-1933 State Law, Control. ................................13
         B. Defendants’ “Essential Ingredients” Argument Wildly Misstates Howey. ...........................15
         C. Courts Applying Howey Do Not Require the Existence of a Written Contract or
            Defendants’ Other Purported “Essential Ingredients.” ........................................................19
         D. Crypto Asset Offerings Routinely Satisfy Howey Despite the Absence of a
            Written Contract or Defendants’ Other Purported “Essential Ingredients.” ....................21
   II. DEFENDANTS OFFERED AND SOLD INVESTMENT CONTRACTS TO
       PUBLIC INVESTORS. .....................................................................................................................24
         A. Public Investors “Invested Money” When They Bought XRP. ...........................................25
         B. XRP Investors Entered Into a Common Enterprise Among Each Other and
            With Ripple. .................................................................................................................................27
                1.     Defendants’ Attempts to Add Requirements to the “Horizontal
                       Commonality” Test Should be Rejected. .........................................................................29
                       (a)         Neither Formalized Mechanisms for Profit Nor “Participatory
                                   Interests” in Pooled Assets Are Required..........................................................29



                                                                                  ii
                                      674 Filed 06/13/23
    Case 1:20-cv-10832-AT-SN Document 841       10/21/22 Page 3 of 85



                (b)         Ongoing Contractual Obligations Are Not Required. .....................................31
                (c)         Defendants Misstate the “Pooling” Element. ...................................................31
          2.    “Strict Vertical” Commonality Exists. .............................................................................32
                (a)         Courts in this Circuit Accept Strict Vertical Commonality. ............................32
                (b)         Defendants’ and Investors’ Fortunes Rose and Fell Together. ......................34
          3.    Defendants’ Other “Common Enterprise” Contentions Are Wrong. ........................35
                (a)         There Is No “Economic Equivalent” of Stock Requirement. ........................35
                (b)         Control of the Market for the Instruments by the Issuer Is Not
                            Required to Find a “Common Enterprise.” ......................................................37
          4.    Courts Have Long Rejected the Argument that Offers and Sales of
                “Ordinary Assets” Must Fall Outside the Federal Securities Laws. ............................39
                (a)         “Ordinary Assets” May Be Offered and Sold As Investments. ......................39
                (b)         Defendants Did Not Sell XRP For Use Or Consumption. ............................41
    C. XRP Investors Reasonably Expected Profits Based Upon Ripple’s Efforts. .....................46
          1.    Ongoing Contractual Obligations Are Not Required. ...................................................47
                (a)         Howey Does Not Require Investors’ Expectations Be Derived from
                            Representations in Written Agreements.............................................................47
                (b)         Defendants’ Real Estate Cases Also Look Outside Written
                            Contracts. ................................................................................................................49
          2.    The Existence of Market Forces Independent of Ripple Is Irrelevant. ......................50
          3.    Defendants’ Attempts to Undercut Their Extensive Promotional
                Representations Are Unavailing. .......................................................................................53
III. THE INDIVIDUAL DEFENDANTS’ OFFERS AND SALES OF XRP WERE
     ALL DOMESTIC, UNREGISTERED OFFERS AND SALES. ..............................................56
    A. The Individual Defendants Made Domestic Offers of XRP. ...............................................57
    B. The Individual Defendants Committed Themselves to Their Sales of XRP, and
       to Deliver XRP After a Sale, in the United States. .................................................................61
          1.    The Individual Defendants Entered into Sale Agreements with GSR from
                the United States..................................................................................................................62
          2.    The Individual Defendants Committed Themselves to XRP Sales Orders
                While They Were in the United States. ............................................................................63
          3.    Title Passed at the Time the Individual Defendants, from the United States,
                Transferred Their XRP from their U.S. Accounts to GSR’s. .......................................64
          4.    Money Was Exchanged in the United States. .................................................................66
    C. The Individual Defendants’ XRP Distributions Were In Furtherance of Their
       Creation and Fostering of a Domestic Market for XRP. ......................................................68




                                                                           iii
                                           674 Filed 06/13/23
         Case 1:20-cv-10832-AT-SN Document 841       10/21/22 Page 4 of 85



               1.    Offers and Sales under Section 5 Are Domestic When a Defendant Takes
                     Steps to Create a U.S. Market for Securities....................................................................69
               2.    The Banque Paribas Standard Should Be Applied to Determine Domesticity
                     Under Section 5. ..................................................................................................................70
               3.    Ripple and the Individual Defendants Engaged in Extensive Efforts to
                     Create a Market for XRP in the United States. ...............................................................72
         D. The Evidence Underlying the Individual Defendants’ Motion Is Disputed. .....................74
CONCLUSION ....................................................................................................................... 75




                                                                               iv
                                             674 Filed 06/13/23
           Case 1:20-cv-10832-AT-SN Document 841       10/21/22 Page 5 of 85



                                                       TABLE OF AUTHORITIES

                                                                                                                                                     Page(s)
Cases
Absolute Activist Value Master Fund Ltd. v. Ficeto, 677 F.3d 60 (2d Cir. 2012) ................................... passim
Aldrich v. McCulloch Properties, Inc., 627 F.2d 1036 (10th Cir. 1980) ...........................................................48
Alunni v. Dev. Res. Group, LLC, 445 F. App’x 288 (11th Cir. 2011)
  (per curiam) ..................................................................................................................................................54
Anderson v. Binance, 2022 WL 976824 (S.D.N.Y. Mar. 31, 2022)
  appeal pending No. 22-972 (2d Cir.) ............................................................................................................67
Ass’n of Am. R.R. v. United States, 603 F.2d 953 (D.C. Cir. 1979) ..............................................................36
Audet v. Fraser, 2022 WL 1912866 (D. Conn. June 3, 2022) .................................................. 23, 28, 33, 36
Balestra v. ATBCOIN LLC, 380 F. Supp. 3d 340 (S.D.N.Y. 2019)................................................... passim
Bamert v. Pulte Home Corp., 445 F. App’x 256 (11th Cir. 2011) ...................................................................48
Banco Safra S.A. v. Samarco Mineracao S.A., 849 F. App’x 289 (2d Cir. 2021) ...........................................67
Baroi v. Platinum Condo Dev., LLC, 914 F. Supp. 2d 1179 (D. Nev. 2012)......................................... 17, 54
Bender v. Cont’l Towers Ltd. P’Ship, 632 F. Supp. 497 (S.D.N.Y. 1986)................................................ 41, 52
Beranger v. Harris, 2019 WL 5485128 (N.D. Ga. Apr. 24, 2019) ................................................................24
Cameron v. Outdoor Resorts of Am., Inc., 608 F.2d 187 (5th Cir. 1979) .................................................. 42, 43
Canadian Imperial Bank of Comm. Tr. Co. v. Fingland, 615 F.2d 465
  (7th Cir. 1980) ..............................................................................................................................................20
Chris-Craft Indus. Inc. v. Bangor Punta Corp., 426 F.2d 569 (2d Cir. 1970)...................................................58
City of Pontiac Policemen’s & Firemen’s Ret. Sys. v. UBS AG, 752 F.3d 173
   (2d Cir. 2014) ...............................................................................................................................................67
Connors v. Lexington Ins. Co., 666 F. Supp. 434 (E.D.N.Y. 1987) ...............................................................40
Continental Marketing Corp. v. SEC, 387 F.2d 466 (10th Cir. 1967) ............................................................37
Curran v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 622 F.2d 216 (6th Cir. 1980) ....................... 32, 33, 35
De Luz Ranchos Inv., Ltd. v. Coldwell Banker & Co., 608 F.2d 1297
  (9th Cir. 1979) ..............................................................................................................................................49
Deckebach v. La Vida Charters Inc. of Florida, 867 F.2d 278 (6th Cir. 1989)......................................... 33, 35
Europe and Overseas Commodity Traders, S.A. v. Banque Paribas London, 147 F.3d 118
  (2d Cir. 1998) abrogated in part on other grounds by Morrison, 561 U.S. 247 ...................................... passim
Fedance v. Harris, 1 F.4th 1278 (11th Cir. 2021)............................................................................................40
Gary Plastic Packing Corp. v. Merrill Lynch, Pierce, Fenner & Smith, Inc.,
  756 F.2d 230 (2d Cir 1985) ................................................................................................................ passim
Geiger v. SEC, 363 F.3d 481 (D.C. Cir. 2004) ...............................................................................................21



                                                                                      v
                                            674 Filed 06/13/23
          Case 1:20-cv-10832-AT-SN Document 841       10/21/22 Page 6 of 85



Gilligan, Will & Co. v. SEC, 267 F.2d 461 (2d Cir. 1959) ...........................................................................26
Giunta v. Dingman, 893 F.3d 73 (2d Cir. 2018) .............................................................................................66
Golden v. Garafalo, 678 F.2d 1139 (2d Cir. 1982) ..........................................................................................36
Grenader v. Spitz, 537 F.2d 612 (2d Cir. 1976) ................................................................................. 42, 43, 52
Gugick v. Melville Cap., LLC, 2014 WL 349526 (S.D.N.Y. Jan. 31, 2014).................................................33
Halsworth v. BProtocol Found., 2021 WL 706549 (S.D.N.Y. Feb. 22, 2021) ...............................................68
Happy Inv. Grp. v. Lakewood Props. Inc., 396 F. Supp. 175 (N.D. Cal. 1975)..............................................50
Harman v. Harper, 914 F.2d 262 (9th Cir. 1990) ...........................................................................................50
Hocking v. Dubois, 885 F.2d 1449 (9th Cir. 1989) .........................................................................................17
In re Bitconnect Secs. Litig., 2019 WL 9104318 (S.D. Fla. Aug. 23, 2019)....................................................23
In re J.P. Jeanneret Assocs., Inc., 769 F. Supp. 2d 340 (S.D.N.Y. 2011) ................................................. 33, 34
In re Petrobas Secs., 862 F.3d 250 (2d Cir. 2017) ............................................................................................67
In re Picard, 917 F.3d 85 (2d Cir. 2019)..........................................................................................................70
Int’l Bhd. of Teamsters v. Daniel, 439 U.S. 551 (1979) .............................................................................. 25, 27
Jobanputra v. Kim, 2022 WL 4538201 (S.D.N.Y. Sept. 28, 2022)................................................... 25, 36, 45
Kaplan v. Shapiro, 655 F. Supp. 336 (S.D.N.Y. 1987) ...................................................................................34
Kemmerer v. Weaver, 445 F.2d 76 (7th Cir. 1971) ...........................................................................................42
Lehman Bros. v. Minmetals Int’l, 179 F. Supp. 2d 159 (S.D.N.Y. 2001) .......................................................52
Liu Meng-Lin v. Siemens AG, 763 F.3d 175 (2d Cir. 2014) ..........................................................................72
Lorenzo v. SEC, 139 S. Ct. 1094 (2019) .................................................................................................. 12, 55
Marini v. Adamo, 644 F. App’x 33 (2d Cir. 2016) .........................................................................................20
Marini v. Adamo, 812 F. Supp. 2d 243 (E.D.N.Y. 2011) ...................................................................... 20, 33
Marini v. Adamo, 995 F. Supp. 2d 155 (E.D.N.Y. 2014)
 aff’d 644 F. App’x 33 (2d Cir. 2016) ..........................................................................................................20
McKinney v. Panico, 2022 WL 4551695 (N.D. Ill. Sept. 29, 2022) ...............................................................20
Miller v. Central Chinchilla Gp., Inc., 494 F.2d 414 (8th Cir. 1974)...............................................................44
Morrison v. Nat’l Australia Bank, 561 U.S. 247 (2010) .......................................................................... passim
Myun-Uk Choi v. Tower Rsch. Cap. LLC, 890 F.3d 60 (2d Cir. 2018) .................................................. 67, 70
Noa v. Key Futures, Inc., 638 F.2d 77 (9th Cir. 1980).............................................................................. 40, 52
Penfield Co. of Cal. v. SEC, 143 F.2d 746 (9th Cir. 1944) .............................................................................40
Pinter v. Dahl, 486 U.S. 622 (1988) .................................................................................................................71
R. A. Holman & Co. v. SEC, 366 F.2d 446 (2d Cir. 1966) .........................................................................26
Revak v. SEC Realty Corp., 18 F.3d 81 (2d Cir. 1994) .......................................................................... passim



                                                                                vi
                                             674 Filed 06/13/23
           Case 1:20-cv-10832-AT-SN Document 841       10/21/22 Page 7 of 85



Reves v. Ernst & Young, 494 U.S. 56 (1990) ............................................................................................ 12, 14
Rocky Aspen Mgmt. 204 LLC v. Hanford Holdings, LLC,
  230 F. Supp. 3d 159 (S.D.N.Y. 2017).......................................................................................................33
Rodriguez v. Banco Ctr. Corp., 990 F.2d 7 (1st Cir. 1992)...............................................................................50
Salameh v. Tarsadia Hotel, 726 F.3d 1124 (9th Cir. 2013) .............................................................................56
SEC v. Ahmed, 308 F. Supp. 3d 628 (D. Conn. 2018) ............................................................ 62, 63, 64, 66
SEC v. Aqua-Sonic Products Corp., 687 F.2d 577 (2d Cir. 1982) .......................................................... passim
SEC v. Arvida Corp., 169 F. Supp. 211 (S.D.N.Y. 1958) .............................................................................58
SEC v. Battoo, 158 F. Supp. 3d 676 (N.D. Ill. 2016)....................................................................................54
SEC v. Belmont Reid & Co, Inc., 794 F.2d 1388 (9th Cir. 1986) ..................................................................52
SEC v. Blockvest, LLC, 2019 WL 625163 (S.D. Cal. 2019) .........................................................................58
SEC v. C.M. Joiner Leasing Corp., 320 U.S. 344 (1943) ......................................................................... passim
SEC v. C.M. Joiner Leasing Corp., 133 F.2d 241, 242-45 (5th Cir. 1943)
  aff’d 320 U.S. 344 (1943) .............................................................................................................................47
SEC v. Cap. Gains Res. Bureau, 375 U.S. 180 (1963).....................................................................................14
SEC v. Cavanagh, 1 F. Supp. 2d 337 (S.D.N.Y. 1998) aff’d 155 F.3d 129
  (2d Cir. 1998) ...............................................................................................................................................17
SEC v. Cavanagh, 155 F.3d 129 (2d Cir.1998)........................................................................................ 15, 58
SEC v. Chinese Consolidated Benevolent Ass’n, 120 F.2d 738 (2d Cir. 1941) ............................................ 6, 21
SEC v. Edwards, 540 U.S. 389 (2003)..................................................................................................... passim
SEC v. Feng, 935 F.3d 721 (9th Cir. 2019) ....................................................................................................45
SEC v. Glen W. Turner Enterprises, Inc., 474 F.2d 476 (9th Cir. 1973) ........................................................47
SEC v. Glen-Arden Commodities, Inc., 493 F.2d 1027 (2d Cir. 1974).................................................... passim
SEC v. Goldman Sachs, 790 F. Supp. 2d 147 (S.D.N.Y. 2011) ............................................................. 58, 60
SEC v. Gruss, 859 F. Supp. 2d 653 (S.D.N.Y. 2012) ...................................................................................57
SEC v. Infinity Grp. Co., 212 F.3d 180 (3d Cir. 2000) ..................................................................................27
SEC v. Kik Interactive, Inc., 492 F. Supp. 3d 169 (S.D.N.Y. 2020) ...................................................... passim
SEC v. Koscot Interplanetary, Inc., 497 F.2d 473 (5th Cir. 1974)............................................................. 47, 48
SEC v. Life Partners, Inc., 87 F.3d 536 (D.C. Cir. 1996) ...............................................................................40
SEC v. Merchant Cap., LLC, 483 F.3d 747 (11th Cir. 2007) .......................................................................48
SEC v. Mutual Benefits Corp., 408 F.3d 737 (11th Cir. 2005) .......................................................................51
SEC v. Pac. W. Cap. Grp. Inc., 2015 WL 9694808 (C.D. Cal. June 16, 2015) ...........................................54
SEC v. Ralston Purina Co., 346 U.S. 119 (1953) ............................................................................................12
SEC v. Revelation Cap. Mgmt., Ltd., 246 F. Supp. 3d 947 (S.D.N.Y. 2017)................................................65


                                                                                     vii
                                             674 Filed 06/13/23
           Case 1:20-cv-10832-AT-SN Document 841       10/21/22 Page 8 of 85



SEC v. Scoville, 913 F.3d 1204 (10th Cir. 2019) cert. denied 140 S. Ct. 483 (2019) ................ 21, 45, 50, 72
SEC v. SG Ltd., 265 F.3d 42 (1st Cir. 2001).................................................................................... 20, 33, 49
SEC v. Shields, 744 F.3d 633 (10th Cir. 2014) ..............................................................................................48
SEC v. Sierra Brokerage Servs., Inc., 608 F. Supp. 2d 923 (S.D. Ohio 2009)
  aff’d 712 F.3d 321 (6th Cir. 2013) ..............................................................................................................26
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  nom SEC v. Scoville, 913 F.3d 1204 (10th Cir. 2019),
  cert. denied 140 S. Ct. 483 (2019) .................................................................................................................25
SEC v. Tyler, 2002 WL 32538418 (N.D. Tex. Feb. 21, 2002) ....................................................................40
SEC v. United Benefit Life Ins. Co., 387 U.S. 202 (1967) ...............................................................................48
SEC v. Variable Annuity Life Ins. Co. of Am., 359 U.S. 65 (1959) ...............................................................29
SEC v. W.J. Howey Co., 151 F.2d 714 (5th Cir. 1945) rev’d 328 U.S. 298 ..................................................30
SEC v. W.J. Howey Co., 328 U.S. 293 (1946)......................................................................................... passim
Solis v. Latium Network, Inc., 2018 WL 6445543 (D.N.J. Dec. 10, 2018)...................................... 24, 28, 45
Stackhouse v. Toyota Motor Co., 2010 WL 3377409 (C.D. Cal. 2010)...........................................................70
Tcherepnin v. Knight, 389 U.S. 332 (1967) ................................................................................................ passim
Timmreck v. Munn, 433 F. Supp. 396 (N.D. Ill. 1977) ..................................................................................54
United Housing Found v. Forman, 421 U.S. 837 (1975)........................................................................... passim
United States v. Greenberg, 30 F.R.D. 164 (S.D.N.Y. 1962) ...........................................................................69
United States v. Harmon, 474 F. Supp. 3d 76 (D.D.C. 2020) ........................................................................65
United States v. Leonard, 529 F.3d 83 (2d Cir. 2008) ............................................................................. passim
United States v. Mashni, 547 F. Supp. 3d 496 (D.S.C. 2021) ........................................................................75
United States v. Naftalin, 441 U.S. 768 (1979) ................................................................................................58
United States v. Vilar, 729 F.3d 62 (2d Cir. 2013) .................................................................................. 62, 66
United States v. Wolfson, 405 F.2d 779 (2d Cir. 1968)....................................................................................69
United States v. Zaslavskiy, 2018 WL 4346339 (E.D.N.Y. Sept. 11, 2018) .......................................... 23, 41
Wals v. Fox Hills Dev. Corp., 24 F.3d 1016 (7th Cir. 1994)................................................................... 33, 35
Walther v. Maricopa Int’l Inv. Corp., 1998 WL 186736 (S.D.N.Y. 1998) ......................................................32
Warfield v. Alaniz, 569 F.3d 1015 (9th Cir. 2009) .................................................................................. 44, 55
WesternGeco LLC v. ION Geophysical Corp., 138 S. Ct. 2129 (2018) ............................................................70
Wildes v. BitConnect Int’l PLC, 25 F.4th 1341 (11th Cir. 2022)................................................ 23, 56, 58, 61
Williams v. Block.One, No. 20 Civ. 2809, D.E. 146 (S.D.N.Y. Aug. 15, 2022) .........................................68




                                                                               viii
                                              674 Filed 06/13/23
            Case 1:20-cv-10832-AT-SN Document 841       10/21/22 Page 9 of 85



                                                                                                                                                       Page(s)
Statutes
15 U.S.C. § 77b ............................................................................................................................. 18, 36, 57, 63
15 U.S.C. § 77d .......................................................................................................................................... 45, 61
15 U.S.C. § 77e ......................................................................................................................................... passim
15 U.S.C. § 78f..................................................................................................................................................60
15 U.S.C. § 78j(b) ...................................................................................................................................... 71, 72
Regulations
17 C.F.R. § 230.901..........................................................................................................................................70
31 C.F.R. § 1010.100(m) ................................................................................................................................... 5
Other Authorities
BLACK’S LAW DICTIONARY (10th ed. 2014) ................................................................................................64
Edward Greene, U.S. REGULATION OF THE INT’L SECURITIES AND
  DERIVATIVES MARKETS § 8 (12th ed. 2017) .............................................................................. 69, 70, 73
FINANCIAL STABILITY OVERSIGHT COUNCIL, “Report on Digital Asset
  Financial Stability Risks and Regulation,” (Oct. 3, 2022) available at
  https://home.treasury.gov/system/files/261/FSOC-Digital-Assets-
  Report-2022.pdf; .........................................................................................................................................60
Indictment in United States v. Zaslavskiy, No. 17 Cr. 647 (D.E. 7) (E.D.N.Y.
  Nov. 21, 2017) .............................................................................................................................................23
Registration of Foreign Offerings by Domestic Issuers, SEC Release No. 33–
  4708, 1964 WL 3661 (July 9, 1964)...........................................................................................................73
U.C.C. § 8-113, 1994 official text with comments (West 1994)................................................................19
U.S. Dep’t of the Treasury, Crypto-Assets: Implications for Consumers, Investors, and
  Businesses (Sept. 6, 2022) available at
  https://home.treasury.gov/system/files/136/CryptoAsset_EO........................................................60
U.S. Dep’t of the Treasury, Guidance (Mar. 18, 2013) available at
  https://www.fincen.gov/sites/default/files/guidance/FIN-2013-
  G001.pdf......................................................................................................................................................... 5




                                                                                       ix
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 10 of 85



        Plaintiff Securities and Exchange Commission (“SEC”) respectfully submits this brief in

opposition to the motion for summary judgment (D.E. 621, “Motion”) filed by Defendants Ripple

Labs, Inc. (“Ripple”), Bradley Garlinghouse (“Garlinghouse”), and Christian A. Larsen (“Larsen”).

                                 PRELIMINARY STATEMENT

        The Court should deny Defendants’ Motion and grant the SEC’s Motion because the

undisputed evidence shows that Defendants engaged in unregistered offers and sales of securities to

public investors.

        Defendants implicitly concede they will not prevail under controlling law—the Howey test.

Instead, they attempt to construct their own test from pre-1933 state law by taking out of context

two words (“essential ingredients”) from the Howey opinion, and then purportedly showing that they

pass their own test. Defendants’ argument may be creative, but it is entirely unavailing, as their

fabricated test decidedly finds no support in the law. Under the Howey test, and the decades of

federal court cases applying it, the SEC prevails as a matter of law. Two words from Howey,

refashioned into an invented test, cannot bear the entire weight of Defendants’ Motion.

        This “essential ingredients” test attempts to read three new prongs into Howey. The first

prong purportedly requires a common law contract to exist—though Defendants vacillate between

whether it must be written or not. Either way, this prong is inconsistent with Howey’s expressly

flexible and adaptable approach. And it likewise conflicts with the securities laws’ broad reach—

recognized by courts for decades—over even unconventional or novel investment products. The

other two prongs of Defendants’ test—that the contracts have written clauses imposing post-sale

obligations on the seller and written rights to receive profits—have been explicitly rejected by courts

applying Howey. Defendants’ attempt to rework Howey to suit their needs should be rejected.

        A proper application of Howey, which controls this case, shows that Defendants offered and

sold investment contracts. First, as Defendants do not dispute, the overwhelming majority of their
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 11 of 85



XRP sales were in exchange for money. Any contention that some XRP distributions were made for

no consideration misses the mark because such distributions were indirect sales of XRP into public

markets, and because consideration does not have to be in cash to satisfy Howey.

        Second, the undisputed facts establish that XRP purchasers invested in a common enterprise

with each other and with Ripple because they all share proportionally in any appreciation of XRP’s

value. Defendants’ argument that XRP is not the “equivalent of stock” ignores the plain language of

the Securities Act of 1933, which provides that both stock and investment contracts are securities.

And the contention that there is no common enterprise because Ripple does not “control” XRP’s

market or price also seeks to add extraneous factors to the analysis that courts do not impose.

        Third, Defendants led investors to expect to profit from their XRP purchases based upon

Ripple’s managerial or entrepreneurial efforts. Courts have routinely rejected Defendants’ arguments

that “disclaimers” preclude finding an investment contract. And Defendants’ and their amici’s

suggestion that XRP is an “ordinary asset,” like an orange, is belied by the facts. It is also legally

irrelevant because even “ordinary assets” may be offered and sold as investment contracts.

        Finally, the Individual Defendants’ arguments that certain of their XRP offers and sales were

not “domestic” also fails. This argument hinges upon offers and sales where the ultimate sale was

matched in the order books of crypto platforms that Defendants’ expert claims are “foreign.” But

the Court has already rejected this argument as to the Individual Defendants’ offers, which were all

made in the U.S. The evidence also shows that the Individual Defendants irrevocably committed

themselves to their sales in the U.S. Their attempt to reduce the analysis to a single fact—the

“location” of an unregistered online platform—is contrary to the Second Circuit’s application of

Morrison and ignores the undisputed evidence showing how these sales in fact occurred.

        In this case, the SEC asks that Defendants be required to register their offers and sales of

XRP and make the accompanying disclosures to investors that thousands of businesses who offer



                                                     2
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 12 of 85



and sell securities in the U.S. markets routinely make. By contrast, the consequences of Defendants’

arguments are sweeping. If accepted, a company seeking to raise funds for its ventures could avoid

providing to investors important disclosures required by the securities laws by relying on modern

technology, by cleverly not reducing transactions to writing, by having lawyers add boilerplate

disclaimers, and by selling on certain trading platforms even though the sales originate in the U.S.

and are made to U.S. investors. This would undermine the disclosure regime that has been the

bedrock of U.S. capital markets for 90 years. And it would ignore consistent Supreme Court

guidance that the securities laws should be flexibly and broadly applied to investment products

offered and sold to the public, even those that are novel.

                             COUNTER-STATEMENT OF FACTS 1

        Defendants’ statement of facts wholly ignores their avalanche of public promises to engage

in significant efforts to find use and generate value and liquidity for XRP, and the multi-billion dollar

efforts they undertook consistent with those representations. Instead, Defendants proffer not

contemporaneous documents or testimony from fact witnesses, but rely almost entirely on the

testimony of their experts, all of which is subject to exclusion under Daubert, and self-serving

declarations submitted by two Ripple executives. Defendants’ curated and incomplete “facts” are

almost all irrelevant and are wholly insufficient to support their request for summary judgment.

I.      RIPPLE OFFERED AND SOLD XRP WHILE PROMISING TO DEVELOP
        “USES” AND LIQUIDITY THAT COULD INCREASE XRP’S VALUE.

        Defendants took significant steps, over many years and costing billions, to create and protect

a trading market for XRP, and they used proceeds from XRP sales to pursue and promote

purported “use” cases that could potentially increase XRP’s value. But now Defendants entirely


1
        “SEC Br.” and “Def. Br.” mean the opening summary judgment briefs (D.E. 628, 622).
“Counter 56.1” means the SEC’s Local Rule 56.1 Counter-Statement. “PX” means exhibits in
support of the SEC’s Motion or attached to today’s Declarations of Ladan Stewart & Mark
Sylvester. “SEC 56.1” and “Def. 56.1” mean the statements of undisputed facts (D.E. 629, 623).


                                                   3
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 13 of 85



ignore their tsunami of public written and oral statements repeatedly representing to investors that

they would pursue such XRP-related efforts. Defendants’ statements and the actual entrepreneurial

and managerial efforts they undertook are unequivocal and undisputed. They point to only one

conclusion as a matter of law: Defendants offered and sold XRP as an investment contract.

       A.      Touting Their Strong Financial Motivations to Do So, Defendants Stated they
               Would Undertake Significant, Expensive Efforts to Find Value for XRP.

       As explained in the SEC’s opening brief, in 2013 Defendants began extensive, years-long

marketing efforts representing they would search for purported “use” and “value” for XRP—and

casting XRP as an opportunity to invest in those efforts. SEC 56.1 ¶¶ 136-43, 344-455. Defendants

do not address the contents of these or any other written and oral marketing efforts, which noted

Ripple’s plans to sell XRP to “fund itself” and to deploy these funds to try to find supposed “uses”

for XRP and Ripple’s blockchain, id. ¶¶ 73, 76, 172-73, 180, 205, 362, 377, 386, 389, 439, 441, 461,

such that “demand for XRP may increase, leading to an increase in price.” Id. ¶¶ 187, 375. Ripple

also touted its unique financial incentives to create and protect a “robust and liquid” marketplace

into which it could sell XRP. E.g., id. ¶¶ 73, 180. Later, when XRP’s price began to increase,

Defendants publicly touted XRP price increases and explicitly tied them to their own efforts. E.g., id.

¶¶ 400-55; see also Counter 56.1 ¶¶ 273-77; PX 624 at 165-67, 198-200. Frequently, Defendants

referred to their efforts as supporting an “XRP ecosystem.” E.g., SEC 56.1 ¶¶ 260, 270, 372.

       These representations appeared in written materials such as pitch decks to investors, XRP

Market Reports, social media campaigns, articles in major financial and crypto-related publications,

and orally during frequent appearances on national financial news networks. See SEC Br. at 11-23.

       B.      Defendants Offered and Sold XRP as an Investment, Not as a “Currency.”

       Defendants never marketed or otherwise offered or sold XRP as a “currency” used to buy

goods and services. See SEC Br. at 29, 43, 57. Defendants’ brief does not contend otherwise, but

they and two amici nevertheless now try to label XRP as a “currency” pointing to general evidence of


                                                   4
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 14 of 85



third-party activities with respect to XRP. Def. Br at 1, 4, 8; D.E. 660 at 5; D.E. 661 at 8. But the

indisputable evidence shows that XRP was not like “fiat” currency (legal tender) and that Defendants

never treated it as such—they treated it as an investment.

            Ripple’s XRP sales contracts explicitly stated that XRP was “not legal tender [and was] …

not backed by the government.” Counter 56.1 ¶ 463; PX 329, 769-71. This is consistent with what

Ripple represented to regulators—that institutional buyers were “purchasing XRP for speculative

purposes” and not as a “currency.” SEC 56.1 ¶¶ 717-23. And it is consistent with Defendants’ public

marketing explicitly noting that XRP was not currency. Counter 56.1 ¶¶ 289-297; PX 7 at 22-28; PX

81 at 219-222; PX 36 at 189-192; PX 503.13; PX 503.18-503.19; PX 2 at 92-94; PX 24 at 110-112,

118-123; PX 743-745; SEC 56.1 ¶¶ 85-86, 90-91, 1167. Indeed, after the 2015 FinCEN settlement,

see Def. Br. at 3-4, 8 & n.6, pursuing any “currency” use for XRP was “impossible.” Counter 56.1

¶ 291; PX 6 at 78-79, 86-87; PX 744. 2 Moreover, Defendants can hardly claim that the

Programmatic Sales of XRP were targeted at those who wished to buy “currency,” because they did

not even know to whom they were selling that XRP. See SEC 56.1 ¶¶ 652-55; Def. Br. at 28 n.19, 61-

62, 69. 3

            C.     Defendants Engaged in the Extensive Efforts they Promised to Undertake.

            Defendants also gloss over the years of efforts they undertook, funded by XRP sales, to

establish the “building blocks” for the XRP trading markets, and the many other efforts Defendants


2
         See 31 C.F.R. § 1010.100(m) (“currency” is issued by the United States or other country,
designated as “legal tender,” and used as a medium of exchange in the issuing country); U.S. Dep’t
of the Treasury, Guidance (2013) (“[I]n contrast to real currency, ‘virtual’ currency is a medium of
exchange that operates like a currency in some environments, but does not have all the attributes of
real currency. In particular, virtual currency does not have legal tender status in any jurisdiction.”),
available at https://www.fincen.gov/sites/default/files/guidance/FIN-2013-G001.pdf.
3
       Defendants suggest that XRP distributions into public markets via conduits (such as
“xPring”) show XRP was a “substitute” for currency. Def. Br. at 11, 37. But they prove the
opposite. The companies that received XRP simply sold it into public trading markets for the cash
they needed and could actually use. SEC 56.1 ¶¶ 836-43; PX 24 at 176-80; PX 25 at 61-63, 72, 89-93.


                                                     5
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 15 of 85



undertook and touted with respect to XRP. Examples included seeding the trading market through

giveaways and paying market makers to buy and sell XRP, distributing XRP (including with the

Individual Defendants’ own sales), combatting “FUD,” and ensuring orderly liquidations of XRP.

SEC Br. at 13-14, 23-26; SEC 56.1 ¶¶ 592-600, 603-05, 1108. Defendants also took steps to

encourage crypto asset trading platforms to make XRP available. See Counter 56.1 ¶¶ 46-57, 401-16;

PX 715, Ex. 13; PX 376, 530, 541, 548, 561, 609, 716-22; PX 645 at 30-31; SEC 56.1 ¶¶ 479-99.

Ripple understood that U.S. investors were interested in buying XRP and made specific efforts to

make it easier for them to buy XRP. Counter 56.1 ¶¶ 378-400; PX 113, 578-81, 586, 589, 595, 604. 4

       As Ripple’s leaders discussed in 2019—“to be brutally honest” Ripple was “commit[ted]” to

its efforts because “there’s no other place where predictability and stability about supply and long

term health can come from” because Ripple at all times “ha[d] this giant pile of XRP.” Counter 56.1

¶ 34; PX 457; see also Counter 56.1 ¶¶ 27-28, 77-84; PX 6 at 201, 297; PX 455, 648, 650, 654-55, 706.

II.    RIPPLE’S SOFTWARE SALES PALED IN COMPARISON TO ITS XRP SALES.

       Defendants speak in generalities about the “hundreds of financial institutions and payment

providers” that have used Ripple’s “software product,” which today they call RippleNet. Def. Br. at

6. Defendants then obliquely state: “RippleNet customers can settle cross-border transactions using

fiat currency or can opt to use a feature called On Demand Liquidity (‘ODL’) which uses XRP.” Id.


4
        Seeking to downplay Ripple’s XRP-funded efforts, Defendants claim that the “core code for
the XRP Ledger was completed” when Ripple was founded. Def. Br. at 6. Whatever Defendants
mean by “core code,” Ripple promised and continued to engage in significant efforts to program,
improve, fix issues with, and attract participants to the XRP Ledger. See Counter 56.1 ¶¶ 13-21, 24,
29-35; PX 7 at 133, 179-83, 227-28; PX 6 at 36-37, 112, 125-34, 170, 186-87; PX 81 at 395-97, 399-
401; SEC 56.1 ¶¶ 163, 359-60; PX 47 at RPLI_SEC 532018. And whether the XRP Ledger was
“completed” when Ripple was founded is irrelevant. See infra Argument § II.B.2(a).
          Similarly, the record contradicts the suggestion that Ripple’s founders merely “gave” XRP to
it. E.g., SEC 56.1 ¶¶ 10-12, 14, 20; see also Counter 56.1 ¶¶ 1-12, 464-65; PX 409, PX 6 at 23-25, 43,
53, 55-56. In any case, this does not impact whether Ripple engaged in unregistered offers and sales of
XRP. Cf. SEC v. Chinese Consolidated Benevolent Ass’n, 120 F.2d 738, 740-41 (2d Cir. 1941) (person with
no relationship to issuer violated Section 5 for unregistered sales of issuer’s securities).


                                                   6
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 16 of 85



(emphasis added). What Defendants omit is that most of the “hundreds of customers” that have

used Ripple products used two platforms—xVia and xCurrent—that are essentially messaging services

that do not “use XRP,” and that in any event yielded only $21.9 million in revenue. SEC 56.1 ¶¶ 146,

153-54; see also Counter 56.1 ¶¶ 142-56; PX 6 at 235-37; PX 7 at 189-91; PX 8 ¶¶ 85, 238; PX 45, Ex.

2; SEC 56.1 ¶¶ 150-51, 155, 159, 162, 169; PX 23 at 42-43; PX 206.

       Ripple’s recitation of facts is also woefully incomplete with respect to the “ODL” product,

which came into existence in late 2018 and permits users to exchange fiat currencies by buying and

selling XRP. The banks and financial institutions that Ripple refers to as its customers did not use

ODL. Counter 56.1 ¶¶ 154, 179-85; PX 7 at 190, 193-94; PX 16 at 182-83. For most of that time, a

single entity, MoneyGram International (“MGI”) made more than 90% of the ODL transactions. Id.

¶¶ 210, 220; PX 499, 621; PX 624 at 76-77. Ripple paid MGI significant amounts to use ODL—or,

as Schwartz described it, to “suffer” the product. Id. ¶¶ 178, 186-88, 210-33, 262, 271, 281; PX 624;

PX 634 ¶ 19. MGI did not pay Ripple a single dollar with respect to ODL, nor did it ever purchase a

single dollar of XRP from Ripple. Id. ¶¶ 171, 229, 288; PX 634 ¶ 19; PX 7 at 218-20. Any suggestion

that MGI “opt[ed] to use” ODL is misleading (and irrelevant, see infra Argument § II.B.4).

       Moreover, Ripple did not sell XRP to ODL users, until it began some sales in mid-2020. Id.

¶¶ 186-88; PX 8 ¶ 94-95; SEC 56.1 ¶¶ 743-44, 749-51. But, concerned that these sales depressed the

market for XRP, Ripple used proceeds from the sales to buy back the XRP it had just sold (while

Garlinghouse was selling his own XRP). SEC 56.1 ¶¶ 760-78; Counter 56.1 ¶¶ 189-207, 457, 462; PX

25 at 340-51; PX 81 at 482-84; PX 22 at 268-73; PX 85 ¶ 566, PX 185, 296, 630, 754, 759, 763, 765. 5



5
        Contrary to the suggestions by Ripple and two amici, neither ODL, nor XRP more generally,
eliminate the need to use traditional financial rails to obtain foreign currency. ODL simply changes
the party obtaining foreign currency through foreign currency exchanges from the money services
business (that Ripple is paying to use the product) to the market maker (that Ripple is also paying).
Counter 56.1 ¶¶ 160, 172-75; PX 25 at 402; PX 559. The record suggests that Ripple’s practices of
paying these entities to use ODL, and of paying market makers to make the XRP markets needed


                                                   7
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 17 of 85



        The statement that $10 billion in payments “have been made” on ODL, Def. Br. at 7, is a

non-sequitur because all it shows is that parties bought and resold XRP in the secondary market. See

SEC 56.1 ¶¶ 743-44, 760-64. This activity is not “payment activity.” The figure is further misleading

because it is an infinitesimal part (0.12%) of the trillions of dollars in total XRP trading volume

through the filing of this lawsuit. Counter 56.1 ¶ 209; PX 398, Ex. 3. Finally, this figure improperly

relies on data bloated by adding trading that post-dates the filing of this case. See also D.E. 216 at 5.

        Finally, at its inception, XRP had no market, no price, and no use. SEC 56.1 ¶¶ 89, 104-08,

714; PX 47; Counter 56.1 ¶ 6; PX 7 at 60. Defendants cannot dispute that, in contrast to Ripple’s

$22 million in software sales in that same period, from 2013 to 2020 Ripple offered and directly and

indirectly sold into public markets more than 24 billion units of XRP for more than $1.5 billion in

cash and $609 million in “other revenue.” SEC 56.1 ¶¶ 647, 716, 830; Def. Br. at 11. It was this

capital raise through selling XRP—not the limited software sales—that allowed Ripple to grow.

Simply put: “Ripple’s main business model/source of income is XRP sales.” SEC 56.1 ¶ 168. 6

III.    RIPPLE SOLD XRP FOR CASH AND OTHER CONSIDERATION.

        A.      Ripple’s Institutional and Programmatic Sales Were All in Exchange for
                Cash, and Made Pursuant to Written and Implied Contracts.

        Ripple made approximately $1.5 billion from Programmatic and Institutional Sales of XRP.

See SEC 56.1 ¶¶ 647, 716; Counter 56.1 ¶¶ 76, 456-57; PX 296, 398, 746-751, 753-763. Larsen and

Garlinghouse, respectively, sold approximately $450 million and $160 million of their own XRP.


for ODL to function, were part of a strategy to show “people like the SEC” that there were uses for
XRP. Counter 56.1 ¶¶ 157-70, 176-77, 286; PX 625. But even that is irrelevant. See Arg. § II.B.4.
6
        Defendants also misleadingly point to statements in financial publications and by the U.S.
Consumer Financial Protection Bureau (“CFPB”) that purportedly praised “products,” Def. Br. at 7,
but these have nothing to do with this litigation. The CFPB comment refers to Ripple’s software for
communication between financial institutions (i.e., software that is essentially a messaging application),
which has nothing to do with XRP. Counter 56.1 ¶¶ 145-48, 439-40; PX 17 at 142. Similarly, none
of the articles Defendants cite pertain to ODL or its relationship to XRP, as most pre-date the ODL
product. Counter 56.1 ¶¶ 458-60. The last article references Ripple’s undefined “products” by a
“bank,” but banks did not use ODL. Id. ¶¶ 179-85, 461; PX 7 at 192-94.


                                                    8
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 18 of 85



SEC 56.1 ¶¶ 868, 870. Ripple’s Programmatic Sales occurred on crypto trading platforms readily

accessible to U.S. investors. Counter 56.1 ¶¶ 417-23, 439-37; PX 565-67, 577, 585. Ripple’s principal

market maker, GSR, pooled the proceeds from the Individual Defendants’ XRP sales with those

from Ripple’s Programmatic Sales until the first quarter of 2018, at which point the proceeds from

Ripple’s sales continued to be pooled. Counter 56.1 ¶¶ 351-52; PX 26 at 141-45, 249-50. Ripple also

pooled proceeds from Programmatic Sales with proceeds from Institutional Sales. Counter 56.1 ¶

457; PX 296, 753-63. Ripple’s Institutional Sales were made pursuant to “agreements” and

“contracts.” Def. Br. at 11. Defendants contend that Ripple’s Programmatic Sales on crypto asset

trading platforms were not conducted pursuant to any contracts. Def. Br. at 10. 7

       B.      Ripple’s Other XRP Distributions Were Indirect Distributions into Public
               Markets Pursuant to Written Contracts and in Exchange for Consideration.

       Defendants distributed billions of XRP to third parties pursuant to various “contracts.” Def.

Br. at 11; see also Counter 56.1 ¶¶ 65-68, 72-73, 85-88, 91-103, 110-132; PX 646-647, 651, 656, 704-

705, 738. Ripple’s counter-parties resold the XRP into public markets. SEC 56.1 ¶¶ 836-43; Counter

56.1 ¶¶ 227, 234; PX 634 ¶¶ 22, 24. These distributions were part of Ripple’s strategy to get XRP off

its balance sheet and into the hands of market participants in order to create XRP liquidity and to

advance Ripple’s interests in attracting people to its technology. Counter 56.1 ¶¶ 133-41; PX 10 at

58, 64, 124-26, 148-49; PX 14 at 117; PX 44. As Schwartz testified, Ripple gave XRP to companies

to “extract value” from them. Counter 56.1 ¶ 138; PX 7 at 79-80, 163-64. This value included

subsidizing companies that were “developing use cases” for Ripple’s technology, Def. Br. at 37, as

Ripple told investors it would do with XRP proceeds. Counter 56.1 ¶¶ 43-45; SEC 56.1 ¶¶ 362-74.




7
        This irrelevant contention ignores that Ripple contractually employed four market makers to
act as conduits for these XRP sales. Counter 56.1 ¶¶ 441, 445, 449, 452; PX 660-663. And it ignores
black letter law that contracts may be written or implied, and that the sale of any asset necessarily
involves a contract, as long as the requirements of offer, acceptance, and consideration are met.


                                                  9
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 19 of 85



Accordingly, Ripple recorded in its financial statements “consideration other than cash” worth $609

million from these distributions. SEC 56.1 ¶ 147; Counter 56.1 ¶¶ 70-71, 455; PX 750, 751.

IV.    THE INDIVIDUAL DEFENDANTS’ DOMESTIC XRP OFFERS AND SALES.

       The Individual Defendants were in the U.S. for the vast majority of the time they offered

and sold XRP—94% of the time for Larsen (SEC 56.1 ¶ 1111; PX 393 at 7-8; PX 2 at 157) and 86%

for Garlinghouse (id. ¶ 1159; PX 454 at 6-9). The Individual Defendants sold the “overwhelming

majority” of their XRP through GSR on crypto asset trading platforms. Def. Br. at 63.

       The Individual Defendants “engage[d] GSR to liquidate XRP and extract maximum value in

either bitcoins or US Dollars.” Counter 56.1 ¶ 304; PX 612, PX 614, PX 615, at Preamble. Larsen’s

first contract provided that title to his XRP passed to GSR at the time Larsen gave the XRP to GSR.

Counter 56.1 ¶ 299; PX 610 § 2.7(b). The subsequent liquidation contracts, which the Individual

Defendants signed in the U.S., gave GSR “custody and control” of their XRP. Counter 56.1 ¶¶ 302-

03, 306; PX 612, PX 614, PX 615 § 2.3; PX 393; PX 454. “GSR’s right to payment vest[ed]” as soon

as GSR took custody of the XRP. Counter 56.1 ¶ 307; PX 612, PX 614, PX 615 § 2.6. The

agreements “automatically terminate[d]” once “all applicable [XRP] ha[d] been liquidated…and GSR

ha[d] deposited the proceeds” in the Individual Defendants’ accounts. Counter 56.1 ¶ 306; PX 612,

PX 614, PX 615 § 2.3. The contracts did not require the Individual Defendants to submit sell orders

to GSR. Instead, GSR employed a trading algorithm that ran 24 hours a day and continuously

generated orders to sell. Counter 56.1 ¶ 355; PX 26 at 311-12.

       Pursuant to these contracts, Larsen transferred 1.5 billion ($495 million) and Garlinghouse

transferred 167 million ($105 million) XRP, from accounts at Bitstamp, U.S.A., a California platform

registered with the U.S. Department of the Treasury, to GSR. Counter 56.1 ¶¶ 314, 377; PX 202 at

27-31; PX 574; SEC 56.1 ¶¶ 1112, 1162; PX 81 at 180; PX 394, 732. These transactions were

reflected on the XRP Ledger. Counter 56.1 ¶ 315; PX 202 at App’x E. To transfer their XRP to



                                                 10
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 20 of 85



GSR, the Individual Defendants used their private cryptographic keys to digitally sign a transaction

transferring the XRP from the XRP Ledger “address” they controlled to the “address” supplied by

GSR. Counter 56.1 ¶¶ 317-18; PX 12. Once GSR resold the XRP, it deposited the proceeds into the

Individual Defendants’ U.S. Bitstamp accounts. SEC 56.1 ¶¶ 1113, 1162; PX 394; PX 81 at 180-82.

The Individual Defendants transferred those funds in U.S. dollars into their U.S. bank accounts. Id.

                                             ARGUMENT

        Defendants violated Section 5 by conducting an unregistered, public offer and sale of

securities with their Programmatic Sales, Institutional Sales, and other distributions of XRP. SEC Br.

27-33, 49-66. These were direct and indirect offers and sales of investment contracts because the

public investors that bought XRP (“XRP investors”) made an investment of money in a common

enterprise with a reasonable expectation of profits to be derived from the entrepreneurial or

managerial efforts of others. SEC v. W.J. Howey Co., 328 U.S 293, 301 (1946).

        Betraying the weakness of their case, Defendants refuse to grapple with Howey and lead by

asking the Court to reject it in favor of their own manufactured test cobbled together from state law

and a misreading of Howey. Defendants then demand summary judgment on the basis that they pass

their own test. Defendants’ tactic is doomed from its inception, as Howey and its progeny are the

controlling law, and mandate judgment in favor of the SEC. Defendants’ argument, that the Court

should restrict the term “investment contract” only to the investment products that existed prior to

1933, runs directly counter to decades of Supreme Court jurisprudence rejecting attempts to limit

the federal securities laws in this fashion. It is ironic that Defendants have unleashed a

technologically advanced investment product but rely on stale jurisprudence that was supplanted by

federal laws meant to regulate any number of novel means to offer and sell securities.

        Even before the federal regulation of securities, state securities (i.e., “blue sky”) laws were

“broadly construed by state courts so as to afford the investing public a full measure of protection.”



                                                    11
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 21 of 85



Howey, 328 U.S. at 298; see also SEC v. C.M. Joiner Leasing Corp., 320 U.S. 344, 353 (1943) (“The

weight of authority is committed to a liberal construction of the blue sky laws.”); SEC v. Ralston

Purina Co., 346 U.S. 119, 123 (1953) (state laws call for an expansive definition of “public” offering).

Thus, even before Howey, the Supreme Court recognized that the reach of the federal securities laws

did “not stop with the obvious and commonplace.” Joiner, 320 U.S. at 351. Three years later, in

Howey, the Court likewise held firm to the “statutory purpose of compelling full and fair disclosure

relative to the issuance” of securities and noted that the concept “embodies a flexible rather than a

static principle, one that is capable of adaptation to meet the countless and variable schemes devised

by those who seek the use of the money of others on the promise of profits.” Id. at 299.

        The Supreme Court has since repeatedly re-affirmed that the term “securities” should be

expansively construed and is broad in scope and meaning, and that form should be disregarded for

substance with an emphasis on economic reality. E.g., Ralston Purina Co., 346 U.S. at 124; Tcherepnin v.

Knight, 389 U.S. 332, 336 (1967); United Hous. Found., Inc. v. Forman, 421 U.S. 837, 847-48 (1975); Reves

v. Ernst & Young, 494 U.S. 56, 60-61 (1990) (Congress “enacted a definition of ‘security’ sufficiently

broad to encompass virtually any instrument that might be sold as an investment”); SEC v. Edwards,

540 U.S. 389, 393-94 (2003); Lorenzo v. SEC, 139 S. Ct. 1094, 1102-03 (2019).

        These decisions in the long line of the Supreme Court’s securities laws jurisprudence show

that Defendants’ argument—the term “investment contract” should be read in a significantly more

restrictive manner than it was in Howey—cannot be countenanced. They also affirm that novel or

technically innovative investment products fall squarely within the reach of our securities laws when,

under Howey, economic reality shows they were offered and sold as investment contracts.

I.      THE INVENTED “ESSENTIAL INGREDIENTS” TEST FAILS.

        Defendants have argued, on the record, that the Howey test “shouldn’t even apply to XRP

and other digital assets.” PX 2 at 45. That remains the thrust of Defendants’ Motion. Although now,



                                                   12
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 22 of 85



instead of explicitly asking the Court to overrule Howey, they advance the equally radical proposition

that Howey’s flexible test should be supplanted by the strictures of the state law that predated the

federal regulation of securities and ignoring 75 years of federal court precedent. Defendants also

argue that Howey controls but that two words, “essential ingredients,” refer not to the test the

Supreme Court expressly established and the courts have applied in the decades since, but instead to

another, implied test which Defendants have for the first time discovered. Defendants thus claim

Howey requires a contract (maybe written, but it is not clear), written contractual obligations on the

promoter to engage in “efforts,” and written contractual rights for investors to receive distributions.

        Even setting aside the extremist argument that the Court should ignore binding precedent,

Defendants’ “essential ingredients” test should be dismissed out of hand. The “written contract”

part of their manufactured test does not exist and does not help Defendants, because they sold every

unit of XRP at issue here pursuant to written or implicit contracts. The other two fabricated

requirements (the existence of particular provisions within the contracts) are foreclosed not just by

Howey but by subsequent, controlling cases. Thus, many courts have found investment contracts

without these purported “essential ingredients,” especially in the modern age where the investment

products at issue—including crypto assets like XRP—were offered and sold online.

        The Court should reject Defendants’ far-fetched theories, apply Howey to this case, and find

that Defendants engaged in unregistered offers and sales of securities.

        A.     Howey and Federal Securities Law, Not Pre-1933 State Law, Control.

        Defendants’ reactionary argument, that the Court’s “investment contract” analysis should

look only at pre-1933 state law decisions, should be summarily rejected. Defendants do not and

cannot cite a single case saying that state law should govern this federal securities laws dispute. On

the other hand, the SEC’s opening brief demonstrated that federal courts have for 75 years

consistently applied and fleshed out Howey’s test for determining the existence of investment



                                                   13
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 23 of 85



contracts. See, e.g., SEC Br. at 4-6, 46-48, 54-57 (citing more than 20 cases applying Howey). Notable

examples include recent decisions from the Supreme Court and the Second Circuit that

unequivocally affirm that Howey remains the bedrock of any “investment contract” analysis. See, e.g.,

Edwards, 540 U.S. at 393 (“The test for whether a particular scheme is an investment contract was

established in our decision in [Howey]”); United States v. Leonard, 529 F.3d 83, 85 (2d Cir. 2008) (“We

write today to underscore that, in applying the Howey factors, courts can (and should) look beyond

the formal terms of a relationship”).

        Just as courts routinely affirm Howey’s enduring and central role in Section 5 cases, the

Supreme Court has long held that federal law, not state law, governs disputes arising under the

federal securities laws. To be sure, Howey recognized that the term “investment contracts” had

become “crystallized” in state blue sky laws. The whole point of Howey and the federal securities laws,

however, is that the federal securities laws go beyond certain restrictive state law contract principles

and look to the totality of the offering. E.g., Joiner, 320 U.S. at 349 (“Whether, as the dissenting Judge

below suggests, the assignee acquired a legal right to compel the drilling of the test well is a question

of state law which we find it unnecessary to determine”); Tcherepnin, 389 U.S. at 337-38 (“While

Illinois law gives legal form to the withdrawable capital shares held by the petitioners, federal law

must govern whether shares having such legal form constitute securities under the Securities

Exchange Act”); Reves, 494 U.S. at 71 (“The ‘maturity’ of the notes, however, is a question of federal

law…We are unpersuaded that Congress intended the Securities Acts to apply differently to the

same transactions depending on the accident of which State’s law happens to apply.”).

        Directly refuting Defendants’ state law argument, the Supreme Court has held that federal

law controls even where doing so means disregarding “essential elements” of common law actions

that were precursors to the federal securities statutes. SEC v. Cap. Gains Res. Bureau, 375 U.S. 180,

192, 194 (1963) (“It is true that at common law intent and injury have been deemed essential



                                                   14
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 24 of 85



elements in a damage suit between parties to an arm’s-length transaction. But this is not such an

action … the doctrines of fraud and deceit which developed around transactions involving land and

other tangible items of wealth are ill-suited to the sale of such intangibles as advice and securities,

and … the doctrines must be adapted to the merchandise in issue.”) (citations omitted). The Second

Circuit has followed suit. See SEC v. Cavanagh, 155 F.3d 129, 135 (2d Cir.1998) (the definition of

“offer” in the Securities Act “extends beyond the common law contract concept”). 8

        So extreme is Defendants’ position that pre-1933 state law, and not Howey’s flexible test and

the subsequent federal cases interpreting it, should govern this case, that even Ripple’s own industry

trade group rejects it in an amicus brief arguing that the Howey test should be applied without

modification to determine if the initial sale of a digital asset is a security. D.E. 649 at 8.

        Defendants’ attempts to erase 75 years of federal securities law jurisprudence, and return to

state laws that predate federal securities regulation, while at the same time accusing the SEC of “not

following” and “seeking to remake” the law, Def. Br. at 4, should be rejected.

        B.      Defendants’ “Essential Ingredients” Argument Wildly Misstates Howey.

        Defendants’ “essential ingredients” argument further seeks to distort Howey by reading into

its holding requirements that simply do not exist.

        Using plain words, Howey’s test for determining the existence of an “investment contract” is

unmistakable: “an investment contract for purposes of the Securities Act means a contract, transaction or

scheme whereby a person invests his money in a common enterprise and is led to expect profits solely

from the efforts of the promoter or a third party.” 328 U.S. at 298-299 (emphasis added); see also id.



8
         Defendants seek to minimize Cavanagh, another Section 5 case, because it addressed the term
“offer” and not “investment contract,” noting that the former is defined in the Securities Act and
the latter is not. Def. Br. at 26. This distinction is meaningless, because the Supreme Court defined
“investment contract” for purposes of federal law. Nor can Defendants distinguish Cavanagh’s
holding, consistent with Supreme Court precedent, that federal securities laws definitions are not
bound by common law definitions of the same terms.


                                                     15
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 25 of 85



at 301. The Second Circuit has long recognized that this identifies the “specific requirements that

continue to be the analytical foundation for determining what constitutes an investment contract.”

Gary Plastic Packing Corp. v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 756 F.2d 230, 239 (2d Cir 1985).

        Defendants claim that Howey also held that a written contract, contractual obligations by the

issuer, and contractual rights for the investor are “essential ingredients” to an investment contract.

This argument takes the words “essential ingredients” in Howey entirely out of context.

        Howey’s single mention of “essential ingredients” is not found in any part of the opinion

setting forth the test, or elements of a test, for determining the existence of an investment contract.

Rather, having concluded the land sale plus the orange-grove servicing arrangement constituted a

scheme whereby investors “provide the capital and share in the earnings and profits; the promoters

manage, control and operate the enterprise,” and that this constituted “all the elements of a profit-

seeking business,” the Court emphasized that not all investors had accepted the servicing contracts.

328 U.S. at 300. It held this did not change the analysis because Section 5 “prohibits the offer as well

as the sale of unregistered, non-exempt securities” such that “it is enough that the [promoters]

merely offer the essential ingredients of an investment contract.” Id. at 300-01.

        The foregoing demonstrates that the reference to “essential ingredients” was to the test the

Court had already articulated. Lest any doubt remain, immediately following the point about the

unaccepted offers the Court repeated the test without including any element Defendants now claim

is essential, stating: “The test is whether the scheme involves an investment of money in a common

enterprise with profits to come solely from the efforts of others.” Id. at 301 (emphases added).

        Moreover, nowhere does the Court say, in referring to “essential ingredients” or anywhere

else, that any contract is required, let alone a written one. To the contrary, Howey flat-out rejected the

notion that a contract or other formal document is required, holding it is “immaterial whether the

shares in the enterprise are evidenced by formal certificates or by nominal interests in the physical assets



                                                      16
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 26 of 85



employed in the enterprise.” Id. at 299 (emphasis added). Nor does Howey say that a contract must

have clauses obligating the issuer to expend efforts or granting rights to profits. Simply put, if the

Court had wanted any of Defendants’ proposed “essential ingredients,” it would have said so.

        Defendants’ argument that a contract is required also ignores that, as recognized in Howey,

Section 5 prohibits unregistered “offers,” just as it does sales. As one court in this District has held,

“[i]f Section 5 were concerned only with the creation of legally enforceable contracts for the sale of

unregistered securities, [its] prohibition on offers…would not have been included in the statute.

Thus, even if the ‘offer’ in this case, once accepted, did not give rise to an enforceable contract, that

fact is immaterial for purposes of determining whether the harm with which Section 5 is concerned

occurred.” SEC v. Cavanagh, 1 F. Supp. 2d 337, 368 (S.D.N.Y. 1998) aff’d 155 F.3d at 129.

        Defendants also cannot square their argument with Howey’s express holding that “an

investment contract for purposes of the Securities Act means a contract, transaction or scheme.” 328

U.S. at 298-99 (emphasis added). Howey similarly used the word “scheme” when describing state

courts’ interpretation of blue sky laws that Defendants argue should control. Id. at 298 (“An

investment contract thus came to mean a contract or scheme…”). Sixty years later, the Court

affirmed that “the test for whether a particular scheme is an investment contract was established in

[Howey].” Edwards, 540 U.S. at 393 (“We look to ‘whether the scheme involves an investment of

money in a common enterprise….’”) (quoting 328 U.S. at 301). The use of these words

contemplates that “the security not be formed of one neat, tidy certificate, but [by] a general

‘scheme’ of profit seeking activities.” Hocking v. Dubois, 885 F.2d 1449, 1457 (9th Cir. 1989). Thus,

courts have held that in applying Howey a “written contract does not control.” Baroi v. Platinum Condo

Dev., LLC, 914 F. Supp. 2d 1179, 1192 (D. Nev. 2012) (citing Hocking, 885 F.2d at 1457).

        Defendants nevertheless claim that the Court chose the words “transaction or scheme”

merely to convey that a court should look to “the broader context in which the instrument is



                                                    17
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 27 of 85



grounded.” Def. Br. at 25. But Defendants cannot cite a single case applying such a limitation.

Ironically, while asking the Court to ignore the key words from Howey’s paramount sentence or give

them their plain meaning, Defendants’ elsewhere implore that dictionary definitions should govern

and that “words generally should be ‘interpreted as taking their ordinary, contemporary, common

meaning…’” Def. Br. at 14-15 & n.11 (citations omitted). 9

        Defendants also argue that the words “transaction or scheme” only “capture the undisputed

point that a court will look at a contract in its full context” to determine what the investor was led to

expect. Def. Br. at 26. This argument is inconsistent with the Supreme Court’s use of the disjunctive

“or” and does too much surgery to the text of the decision. The Court did state that expectation of

profits (an actual ingredient of the Howey test) came not from either of the two contracts at issue, but

instead from the “sales talk,” what the “advertising mentions,” and what was “represented.” Howey,

328 U.S. at 295-97; see also Tr. in SEC v. W.J. Howey, No. 45-843, App’x A hereto (“Howey Record”)

at 20-28. According to Defendants, “contract, transaction or scheme” actually means “a written

contract and a sales talk,” a reading that the plain words of Howey do not bear.

        That said, Defendants concede it is “undisputed,” Def. Br. at 26, that the relevant statements

do not need to be in any written contract (a point that even Defendants’ expert concedes). See D.E.

548-8 at 61-64. This is fatal to Defendants’ argument that written contractual obligations or rights

are required. At a minimum, they cannot delineate from Howey how many of these supposedly

required “contractual provisions” may actually come from oral representations.

        Left with nothing else, Defendants’ argument boils down to the absurd contention that a

written contract is required simply because Howey (and some cases applying it) happened to involve



9
        Likewise, the argument that Congress intended an investment contract to be limited to
“evidence of debt or property,” Def. Br. at 14-15, would render the term “investment contract”
surplusage in the definition of “securities,” which separately includes products such “any note,
stock…[or] evidence of indebtedness.” 15 U.S.C. § 77b(a)(1); see also infra § II.B.3(a).


                                                   18
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 28 of 85



written contracts. If legal tests were derived from the facts of a case, the Howey test could be validly

read to mean that orange groves and land in Florida are required to prove an “investment contract.”

While Defendants focus on cases involving contracts in their underlying fact patterns, most of these

occurred before technological advances made possible offering and distributing securities and other

assets widely via electronic means beyond the formalities of written offers or contracts. Defendants

do not and cannot cite a single case holding that a written contract is required to establish an

investment contract under the federal securities laws. 10

        Defendants also argue that each pre-Howey state law case involved a contract. Def. Br. at 18-

19. This is both unsurprising and uninformative. The sale of an asset generally involves a contract, as

long as offer, acceptance, and consideration exist. See, e.g. Joiner, 320 U.S. at 349 (“the acceptance of

the offer quoted made a contract”). Whether an asset is offered or sold as an investment contract is

assessed under the Howey analysis handed down by the Supreme Court. Since that analysis does not

require that a common-law contract be present, either in a written or strictly oral form, its absence is

of no consequence. Of course in today’s world, securities transactions do not occur as in 1933. 11

        C.      Courts Applying Howey Do Not Require the Existence of a Written Contract
                or Defendants’ Other Purported “Essential Ingredients.”

        Defendants do not cite a single case using their non-existent “essential ingredients” test. And

while they claim that their “research has found no case finding an investment contract” without a

written agreement of sorts, Def. Br. at 19, many such cases exist, stretching back decades. Just last


10     Even if the presence of a written contract were required (it is not), every single sale here
would satisfy that element. According to Defendants, Ripple entered into “more than 1,700 relevant
contracts” in connection with its XRP distributions, Def. 56.1 ¶ 105 n.3, and sold all of its
Programmatic Sales pursuant to contracts of sales. Counter 56.1 ¶¶ 441-54; PX 660-63.
11
        Thus, Article 8 of the Uniform Commercial Code was amended in 1994 to eliminate the
requirement that a contract to buy a security be reflected in a writing, because such requirement is
“unsuited to the realities of the securities business” such that, under state law, oral contracts for sales
of securities are permitted. See U.C.C. § 8-113, 1994 official text with comments (West 1994).


                                                    19
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 29 of 85



month, a district court held the term “investment contracts” is “broad enough to include unwritten

instruments.” McKinney v. Panico, 2022 WL 4551695, at *9 (N.D. Ill. Sept. 29, 2022) (citing Canadian

Imperial Bank of Comm. Tr. Co. v. Fingland, 615 F.2d 465, 467 & n.5 (7th Cir. 1980) (“oral agreements

have been held to be securities” and “a writing is not mandatory”)).

        Similarly, in Marini v. Adamo, defendants were found liable for fraud in the sale of

“investment contracts,” even though no formal or written contract existed. 995 F. Supp. 2d 155, 203

(E.D.N.Y. 2014). Marini determined that investment contracts existed while also finding defendants

liable for unjust enrichment, a claim that was only available “in the absence of any agreement.” Id. 12

        The First Circuit has also found investment contracts based solely on representations on

defendant’s website, and in the absence of a written contract, in SEC v. SG Ltd., 265 F.3d 42, 49-55

& n.2 (1st Cir. 2001). SG Ltd. reached this holding despite the district court’s finding that the

investors’ payments to defendant were part of a “[video] game lacking a business context” that “was

not part of the commercial world.” Id. at 46, 47. And the court reached this result after noting that

“[t]he Supreme Court has long espoused a broad construction of what constitutes an investment

contract” and that Howey “has proven to be versatile in practice. Over time, courts have classified as

investment contracts a kaleidoscopic assortment of pecuniary arrangements that defy categorization

in conventional financial terms, yet” satisfy Howey in light of economic reality. Id. at 47.

        The Tenth Circuit took the same approach in SEC v. Scoville, another case involving

investment products offered and sold solely over the internet, which the court had little trouble

holding were securities. 913 F.3d 1204, 1221-22 (10th Cir. 2019). The court reached this finding



12
        Marini earlier denied defendant summary judgment on the “investment contract” issue,
despite the absence of any formal or written contract. Marini v. Adamo, 812 F. Supp. 2d 243
(E.D.N.Y. 2011). The Second Circuit later affirmed defendant’s securities fraud liability. 644 F.
App’x 33 (2d Cir. 2016). While the court reversed the unjust enrichment ruling, it did so because it
was duplicative of plaintiffs’ common law fraud claims and noted that an unjust enrichment claim
would not have been available had a contract existed. Id. at 35-36.


                                                    20
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 30 of 85



without discussing any written contract, while noting that there was no contract governing how

investors would be repaid. Id. at 1210 (“neither the website nor any other publicly available source of

information informed the members how [the issuer] split the revenue between itself and

[investors]”). Investment contracts thus existed even though the investors’ only expectation of

profits came from “the representations made to them” on the websites. Id. at 1222. 13

        D.      Crypto Asset Offerings Routinely Satisfy Howey Despite the Absence of a
                Written Contract or Defendants’ Other Purported “Essential Ingredients.”

        Various courts, including in this district, have repeatedly found that crypto asset offerings

violate Section 5 in cases where formal contracts or Defendants’ other “essential ingredients” were

absent. Balestra v. ATBCOIN LLC did not discuss any formal contract between the purchasers and

sellers of digital tokens but still found the existence of an investment contract despite the absence of

this and another of Defendants’ “essential ingredients,” the entitlement of investors to share in the

issuer’s profits. 380 F. Supp. 3d 340, 352-57 (S.D.N.Y. 2019) (“ATB Coins did not entitle purchasers

to a pro rata share of the profits derived from any ATB-managed transaction. However, such a

formalized profit-sharing mechanism is not required…”) (citations omitted). Instead of being

governed by a contract, the investors’ expectation of profits came from “a marketing campaign,” a

“press release,” “advertisements,” and the promoter’s website. Id. at 355. While Defendants state in

conclusory fashion that Balestra “involved contractual rights and obligations,” Def. Br. at 35, they fail

to identify the existence of any formal contract governing the investments in that case.




13
          Two other appellate Section 5 decisions are consistent with this approach and inconsistent
with the notion that a written contract is required to constitute an actionable “offer or sale” of a
“security.” In Geiger v. SEC, the D.C. Circuit found a defendant who had sold securities to the public
through an intermediary and therefore had no contact with members of the public nevertheless
liable under Section 5. 363 F.3d 481, 487 (D.C. Cir. 2004). And Chinese Consol. Benevolent held a
distributor of securities liable even though the distributor had “no contractual arrangement or even
understanding” with the original issuer of the securities. 120 F.2d at 740-41.


                                                   21
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 31 of 85



        Another crypto asset offering case, SEC v. Telegram Grp., Inc., involved a two-stage offering.

The first stage involved a contractual agreement to sell Grams to 175 sophisticated investors, who

the court determined to be “statutory underwriters.” 448 F. Supp. 3d 352, 358-59, 380-81 (S.D.N.Y.

2020). In the second stage, these investors would “res[ell] [the] Grams into the secondary public

market [as] an integral part of the sale of securities without a required registration statement.” Id. at

358-59. This “unload[ing of] … Grams into the secondary market” was not pursuant to any written

contract. Despite this, the court concluded: “the intended and expected resale of Grams into a

public market [amounts] to the distribution of securities.” Id. at 381.

        SEC v. Kik Interactive likewise involved an offering consisting of a private sale to “50

sophisticated participants” and a general distribution to 10,000 public investors. 492 F. Supp. 3d

169, 174-76 (S.D.N.Y. 2020). While the private sales were governed by written agreements that

acknowledged the investments were “securities,” the only documentation for the public sales were a

“Terms of Use Agreement” which “constitut[ed] the entire agreement between the purchaser and

Kik.” Id. The agreement expressly disclaimed any obligations on the part of Kik. Id. at 175. Despite

this express absence of Defendants’ “essential ingredients”—namely post-sale obligations on the

part of the issuer or the right of the investors to make demands on the issuer—the court determined

the public sales violated Section 5. Id. at 177-180 (“Rather than receiving a pro-rata distribution of

profits, which is not required for a finding of horizontal commonality, investors reaped their profits

in the form of the increased value of Kin.”) (citing Balestra, 380 F. Supp. 3d at 354). 14



14
        In holding that the public offering violated Section 5, Kik observed: “contractual language is
important to, but not dispositive of, the common enterprise inquiry, and courts regularly consider
representations and behavior outside the contract.” 492 F. Supp. 3d at 178 (citing Joiner, 320 U.S. at
352-55, and Tcherepnin, 389 U.S. at 336). Defendants’ attempt to distinguish Kik because Kik issued
“Simple Agreements for Future Tokens,” Def. Br. at 34-36, 47, is misleading. That was only half of
Kik’s offering. The other half was a direct public offering to thousands, just as Ripple conducted a
two-prong offering: a broad distribution of XRP (through contracts with GSR) in addition to
conducting an offering of XRP via contracts with institutional investors. 492 F. Supp. 3d at 174-76.


                                                    22
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 32 of 85



        Balestra, Telegram, and Kik are consistent with other in-circuit decisions where investment

contracts were found to exist despite the absence of Defendants’ “essential ingredients.” United States

v. Zaslavskiy found the indictment sufficiently alleged the existence of investments contracts, even

though it did not allege that investors entered into formal contracts, but rather simply purchased

crypto assets on a website. 2018 WL 4346339, at *7 (E.D.N.Y. Sept. 11, 2018); see also Indictment in

No. 17 Cr. 647 (D.E. 7) (E.D.N.Y. Nov. 21, 2017). The court held these allegations satisfied Howey

based on marketing in online advertising and websites. Zaslavskiy, 2018 WL 4346339 at *2, *4-*7.

        Recently, Audet v. Fraser reached the same result when the court reversed a jury’s defense

verdict and held that a crypto asset called “Paycoin” was an investment contract. 2022 WL 1912866,

at *15-*18 (D. Conn. June 3, 2022). Audet did so even though Paycoin “traded on public

exchanges,” which did not require any common law contract between investors and the issuer. Id. at

*9, *16. Because Paycoin traded in public markets, “its price is determined by market forces,” id., as

opposed to contractual obligations owed by the issuer to investors. As for investors’ expectation of

profits, as in the above cases, they were premised not on contractual obligations, but instead on the

issuer’s “promotional materials,” “press release[s],” and “graphic[s] on its website.” Id. at *16.

        Finally, out-of-circuit courts have reached the same result. In re Bitconnect Secs. Litig., found

that sales of a crypto asset called “BitConnect Coins” on a crypto asset trading platform involved

sales of investment contracts. 2019 WL 9104318, at *1, *6-*9 (S.D. Fla. Aug. 23, 2019). The court

reached this finding even though there was no discussion of any contract between investors and

sellers and the complaint contained “no allegations regarding a relationship between any of the

Plaintiffs [investors] and [defendant promoters].” Id. at *10. On appeal, the Eleventh Circuit

determined that the crypto asset sales were subject to the federal securities laws. Wildes v. BitConnect

Int’l PLC, 25 F.4th 1341, 1344-46 (11th Cir. 2022). In doing so, the court looked solely at

representations made on websites and YouTube videos, and did not identify any contract. Id.



                                                    23
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 33 of 85



        Likewise, in Beranger v. Harris, the court found the complaint sufficiently alleged that offers

and sales of crypto asset tokens were securities transactions without reference to any contract and

with expectation of profits premised on defendants’ promotional statements in a “whitepaper” and

on social media posts. 2019 WL 5485128 at *1, *3-4 (N.D. Ga. Apr. 24, 2019). Solis v. Latium

Network, Inc. reached the same conclusion, even for a “general sale” of crypto asset tokens. 2018 WL

6445543, at *1 (D.N.J. Dec. 10, 2018). As in the above decisions, the Solis defendants’

representations in “promotional materials, advertising methods, and public statements”—not the

terms of any contract—caused investors to expect profits. Id. at *3.

                                                   ***

        In short, Defendants’ “essential ingredients” test is not in Howey or any of the dozens of

cases, including Supreme Court and Second Circuit cases, applying the Howey test. To the contrary,

the test is fundamentally inconsistent with Howey. Defendants’ attempt to squeeze out of two words

in Howey an entire, new test to determine the existence of investment contracts should be rejected.

II.     DEFENDANTS OFFERED AND SOLD INVESTMENT CONTRACTS TO
        PUBLIC INVESTORS.

        Applying the actual law that governs this case, the Howey test, demonstrates that Defendants

offered and sold investment contracts and that their contrary arguments all fail. Howey asks

“‘whether, under all the circumstances, the scheme was being promoted primarily as an investment

or as a means whereby participants could pool their own activities, their money and the promoter’s

contribution in a meaningful way.’” Leonard, 529 F.3d at 88 (quoting SEC v. Aqua-Sonic Products Corp.,

687 F.2d 577, 582 (2d Cir. 1982)). In applying Howey “courts can (and should) look beyond the

formal terms of a relationship to the reality of the parties’ positions.” Id. at 85.

        As noted, courts, including many in this district, have held that unregistered offers and sales

of crypto assets violated Section 5 (on motions for summary judgment as a matter of law or on a

motion to dismiss assuming allegations to be true). See also SEC Br. at 49 (collecting cases); Jobanputra


                                                    24
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 34 of 85



v. Kim, 2022 WL 4538201, at *8 n.8 (S.D.N.Y. Sept. 28, 2022) (“courts in this district have applied

the Howey test to determine that cryptocurrency tokens intended to be sold on a blockchain or in the

general market were securities … [defendant] points to no case to the contrary”) (citations omitted).

        Here, the economic reality of Ripple’s business is straightforward. Ripple did not grow

exponentially in size or raise over $2 billion from selling software. “The evidence clearly points to

the fact that” Ripple’s “explosive growth was driven by members purchasing and repurchasing”

XRP “in order to obtain the incredible returns on their investment, not by intense demand for” any

software services. SEC v. Traffic Monsoon, LLC, 245 F. Supp. 3d 1275, 1302 (D. Utah 2017) aff’d sub

nom SEC v. Scoville, 913 F.3d 1204 (10th Cir. 2019), cert. denied 140 S. Ct. 483 (2019).

        A.      Public Investors “Invested Money” When They Bought XRP.

        Defendants do not dispute that Ripple’s Institutional and Programmatic Sales of XRP and all

of the Individual Defendants’ sales were made in exchange for cash or other consideration. This

satisfies Howey. E.g., Telegram, 448 F. Supp. 3d at 368-69.

        Defendants nevertheless purport to “expressly reject” that there was an “investment of

money” with respect to their $1.5 billion in XRP sales, suggesting that Howey’s first prong

distinguishes between a “payment” and an “investment.” Def. Br. at 37 n.23. No such distinction

exists. The inquiry is whether investors “provide[d] the capital,” Howey, 328 U.S. at 300, “put up

their money,” SEC v. Glen-Arden Commodities, Inc., 493 F.2d 1027, 1034 (2d Cir. 1974), or

“provid[ed]” cash. Telegram, 448 F. Supp. 3d at 368-69; see also Int’l Bhd. of Teamsters v. Daniel, 439 U.S.

551, 559-60 (1979) (investment contracts are formed based on “money paid” for property). To the

extent Defendants’ “payment” versus “investment” distinction alludes to their statements that XRP

is an “ordinary asset” such as gold, it is a non sequitur. Defendants never argue they sold XRP as an

“ordinary asset,” likely because such argument would run into a thicket of cases holding that




                                                     25
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 35 of 85



ordinary items with intrinsic value (which XRP did not have) may be sold as investment contracts,

including Howey itself. See infra § II.B.4.

        Defendants do argue that in some “cases, the recipients of XRP from Defendants did not

exchange money, or any other financial consideration,” but that, instead, Ripple “invested” in these

companies by transferring XRP to them. Def. Br. at 36-37. This miscontrues the “sale” at issue.

Section 5 prohibits “directly or indirectly” offering or selling securities without filing a registration

statement. 15 U.S.C. § 77e(a), (c) (emphasis added). Accordingly, a “public offering” or

“distribution” must be registered. Gilligan, Will & Co. v. SEC, 267 F.2d 461, 466 (2d Cir. 1959). That

“‘[d]istribution’ comprises ‘the entire process by which in the course of a public offering the block

of securities is dispersed and ultimately comes to rest in the hands of the investing public.’” R. A. Holman &

Co. v. SEC, 366 F.2d 446, 449 (2d Cir. 1966) (emphasis added) (citation omitted). When Ripple

transferred XRP to certain recipients, it was but the first step in a public distirbution. 15

        Defendants concede that the parties that received XRP from Ripple, such as an “xPring

recipient,” could “transfer their XRP (in exchange for units of another currency, goods, or services)

to another holder.” Def. Br. at 38; see also Counter 56.1 ¶ 102(a); PX 6 at 392-93. The undisputed

facts show this is exactly what occurred and that Ripple took steps to manage these sales. See SEC

Br. at 31-32, 64-65; SEC 56.1 ¶¶ 835, 843; PX 193, 194, 199; Counter 56.1 ¶¶ 214-15; PX 36 at 144-

45. In other words, Ripple distributed XRP to the public, whether directly or through intermediaries.




15
        Ripple also argues that its distributions of XRP to “early adopters and developers,” Def. Br.
at 36, and/or in connection with “bounty” programs, id. at 37, do not satisfy Howey. The SEC did
not charge these transactions, see Am. Compl. (D.E. 46) ¶ 91 Tbl. 1, ¶ 170 Tbl. 3, 432, even though
the law supports doing so. E.g., SEC v. Sierra Brokerage Servs., Inc., 608 F. Supp. 2d 923, 940-41 (S.D.
Ohio 2009) (“[W]here a ‘gift’ disperses corporate ownership and thereby helps to create a public
trading market it is treated as a sale. In other words, where a gift is followed by widespread
downstream sales of those securities, these would-be gifts may be characterized as a subterfuge to
evade registration.”) (citations and quotations omitted) aff’d 712 F.3d 321 (6th Cir. 2013).



                                                       26
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 36 of 85



        And, even if the relevant analysis ends at Ripple’s distribution of XRP to these intermediary

recipients (it does not), Ripple recognized over $609 million in revenue with respect to such XRP

distributions while stating that it had received “other consideration” for them. SEC 56.1 ¶ 830; PX

45 at Ex. 2; Counter 56.1 ¶ 455; PX 750 at RPLI_SEC 0301117; PX 751 at RPLI_SEC 0920433; see

supra Counter-Statement of Facts § III.B. 16

        B.      XRP Investors Entered Into a Common Enterprise Among Each Other and
                With Ripple.

        A common enterprise can be established through a showing of “horizontal commonality,”

which “ties the fortunes of each investor in a pool of investors to the success of the overall

venture.” Revak v. SEC Realty Corp., 18 F.3d 81, 87 (2d Cir. 1994) (citations omitted). Additionally,

courts routinely hold that a common enterprise can also be shown through “strict vertical

commonality” which “requires that the fortunes of investors be tied to the fortunes of the

promoter.” Id. at 88 (citation omitted); Telegram, 448 F. Supp. 3d at 369 (collecting cases).

        XRP investors invested in a common enterprise that satisfies both commonality standards.

Horizontal commonality exists because Ripple treated investor cash indistinguishably in its accounts

and spent it to find use and value for XRP, which benefited all XRP holders equally. See SEC Br. at

50-51; SEC 56.1 ¶¶ 150-52, 162-70, 647-51. This is “not a scenario where the funds of each investor

were segregated and separately managed.” Kik, 492 F. Supp. 3d at 179. Moreover, as Defendants

acknowledge (e.g., Def. Br. at 37-38) all XRP are fungible and their price rises or falls together and

equally. SEC 56.1 ¶¶ 206-07. Thus, an increase in XRP’s price equally benefits all XRP holders,

including Ripple, and vice-versa. SEC 56.1 ¶¶ 208-234. Accordingly the “return on investment” for


16
        Ripple’s selective quoting from Teamsters v. Daniel (Def. Br. at 37) is unavailing. In that case,
where an employee was involuntarily enrolled into a pension plan funded entirely by employer
contributions, but was really working for a cash salary, the employee had not bought an investment
contract. Daniel, 439 U.S. at 559-60. Here, the entire reason Ripple gave XRP to these entities was to
enroll them in undertaking projects that benefited Ripple—finding “use” for XRP and distributing
it—such that Ripple received “tangible and definable consideration” for this XRP. See id. at 560.


                                                    27
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 37 of 85



any one XRP holder is “directly proportional to the amount of that investment.” SEC v. Infinity Grp.

Co., 212 F.3d 180, 188 (3d Cir. 2000); see also Gary Plastic, 756 F.2d at 241 (offering “to the public at

large” involved instruments that “have the equivalent value to most persons”).

        Strict vertical commonality is met for largely the same reasons—the fortunes of XRP

investors rise and fall with those of Ripple, as a result of Ripple’s initial retention of nearly all XRP

created and continued holding of billions of units of XRP. Def. Br. at 5. Indeed, Defendants touted

this fact as an inducement to invest in XRP. See SEC Br. at 15-16, SEC 56.1 ¶¶ 251-74.

        Numerous cases find that purchasers of crypto assets entered a common enterprise based on

these facts. Telegram found horizontal commonality because Telegram received the investors’ funds

and used them to develop a blockchain, and where if the venture failed all investors “would suffer a

diminution in the value of their Grams.” 448 F. Supp. 3d at 369-70. The court also found vertical

commonality because the 28-percent stake in Grams that Telegram had given itself “link[ed]” the

company’s financial fortunes to the price of Grams and the success of the [Telegram] Blockchain.”

Id. at 370. Kik likewise found horizontal commonality because Kik used the funds from the sale of

Kin for the “construction of the digital ecosystem it promoted” and investors “reaped their profits

in the form of the increased value of Kin.” 492 F. Supp. 3d at 178. And in Audet, horizontal

commonality existed where the promoter used the funds raised via Paycoin sales to facilitate

“adoption” of Paycoin, “the price of which rose and fell across the board, so that its purchasers

gained or lost in proportion to the amount of Paycoin they owned.” 2022 WL 1912866, at *15. 17


17
        See also Balestra, 380 F. Supp. 3d at 353 (finding horizontal commonality where “the funds
raised through the ICO were pooled together to facilitate the launch of the ATB Blockchain, the
success of which, in turn, would increase the value of Plaintiff’s ATB Coins”); Solis, 2018 WL
6445543, at *2 (horizontal commonality pled through allegations “that the funds raised through
Latium’s ICO were pooled to develop and maintain Latium’s tasking platform” and “‘an investor’s
return…is directly proportional to the amount of an investor’s financial stake and number of LATX
tokens owned.’”) (citation omitted). Defendants’ attempt to distinguish these cases as involving
“ICOs” (Initial Coin Offerings) fails because whatever one calls an instrument does not control the
analysis. See Forman, 421 U.S. at 848-49 (economic reality, not the name of a transaction, controls).


                                                    28
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 38 of 85



        Defendants do not directly confront these tests. Instead, Defendants misstate the law with

respect to horizontal commonality by incorrectly arguing it requires pooling of the Individual

Defendants’ XRP proceeds, ongoing contractual obligations, absolute control of the common

enterprise by Ripple, and that investors have a legal right to Ripple’s assets. These are more

Defendant-invented requirements. And Defendants misstate the viability of strict vertical

commonality and then misapply that test through a confused comparison of XRP to Ripple stock.

                1.       Defendants’ Attempts to Add Requirements to the “Horizontal
                         Commonality” Test Should be Rejected.

                         (a)     Neither Formalized Mechanisms for Profit Nor “Participatory
                                 Interests” in Pooled Assets Are Required.

        Defendants try to add two non-existent requirements to horizontal commonality: that

investors have “participatory financial interests” in the pool of assets and rights to “receive profits

or dividends … from Ripple or [the] common pool.” Def. Br. at 44-46. This fails for two reasons.

        First, no court has ever held that profits, dividends, or “participatory financial interests” are

required to establish commonality or any part of Howey. “Horizontal commonality is established

when investors’ assets are pooled and the fortunes of each investor is tied to the fortunes of other

investors as well as to the success of the overall enterprise.” Telegram, 448 F. Supp. 3d at 369 (citing

Revak, 18 F.3d at 87). As for the type of profits, a “formalized profit-sharing mechanism,” such as

rights to pro rata distributions, “is not required.” Balestra, 380 F. Supp. 3d at 354. Likewise,

“receiving a pro-rata distribution of profits … is not required.” Kik, 492 F. Supp. 3d at 178.

“[P]rofits in the sense of income or return,” includes “for example, dividends, other periodic

payments, or the increased value of the investment.” Edwards, 540 U.S. at 394 (emphasis added). 18


This principle is crystallized here given that, at some point during the height of ICOs, Ripple
considered a media strategy to cast XRP as the first ICO. See Counter 56.1 ¶ 438; PX 526; PX 741.
18
        To the extent Defendants suggest SEC v. Variable Annuity Life Ins. Co. of Am., 359 U.S. 65, 71
(1959), requires a pro-rata distribution of profits to establish commonality, Def. Br. at 22, the case


                                                     29
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 39 of 85



        Nor does horizontal commonality require that investors retain some legal interest over the

funds raised (such as to Ripple’s “bank accounts,” Def. Br. 46), or “participatory interest” in a group

of assets. See e.g., id. at 38, 41, 45-47. Rather, “profits” refers to “the profits that investors seek on

their investment, not the profits of the scheme in which they invest.” Edwards, 540 U.S. at 394.

        Defendants’ convoluted argument that Kik and Telegram involved a “business venture [that]

pooled the investments [to] launch new blockchains[] in order to create profits in which participants

shared a participatory interest,” is wrong. Def. Br. at 47. Neither Telegram nor Kik refer to any

“participatory interest” in a business venture, a blockchain, a pool of assets, or anything else, any

more than Howey does. The pooling in those cases was the same type of pooling here: using the

proceeds from the token sale to engage in efforts to increase use and demand for the tokens. And

the fortunes in those cases were the same type of fortunes here: capital appreciation through an

increase in the price of the token. See Telegram, 448 F. Supp. 3d at 369 (“Telegram pooled the money

received from” buyers, used it for a common enterprise, and all buyers “would be equally affected”

by token’s price changes); Kik, 492 F. Supp. 3d at 178 (Kik pooled proceeds from the sales to fund

operations, and “investors reaped their profits in the form of the increase valued of Kin”).

        That the “XRP Ledger was operational before a single unit of XRP” existed, Def. Br. at 47,

even if true, but see supra n.4, is similarly irrelevant. Telegram involved a company that had a well-

developed, “signature product,” which it promised to leverage to increase the value of a new

blockchain “ecosystem.” 448 F. Supp. 3d at 359. Howey itself rejected the distinction between

“established” and “new businesses” whose product was not yet developed. See SEC v. W.J. Howey

Co., 151 F.2d 714, 717 (5th Cir. 1945) rev’d, Howey, 328 U.S. at 299. In reversing the Fifth Circuit’s

holding, Howey noted the promoter was “well established in the citrus business,” and “reject[ed]”


law demonstrates otherwise, as “profits” under Howey can be established by showing “either capital
appreciation resulting from the development of the initial investment …or a participation in
earnings resulting from the use of investors’ funds.” Forman, 421 U.S. at 852, 855 (emphasis added).


                                                     30
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 40 of 85



that an investment contract is missing where the enterprise is established and therefore “not

speculative.” 328 U.S. at 296, 301. The Howey promoter had been operating orange groves for more

than twenty years, and servicing others’ groves for three. See App’x A at 5-7 (Stip. ¶¶ 2, 3, 8); see also

infra § II.B.4 (addressing irrelevance of an asset having “use”). Of course, here, the XRP Ledger was

but the first step of a broader set of suites, products, and uses that Ripple promised to develop.

        Second, Defendants’ related suggestion that the “profits” at issue must come from the pool of

assets the promoter amasses by selling investment contracts is also incorrect. E.g., Def. Br. at 45. In

Howey, the promoter pooled the proceeds from selling land and from collecting servicing fees, and

used those funds to develop the enterprise. The investors’ profits did not come from that pool, to

which they had no “participatory interests” or other rights. Instead, they came when the promoter

sold the oranges and then, rather than pooling the cash from those sales, allocated those proceeds pro

rata. As the Court explained: the “company [was] accountable only for an allocation of the net profits

based upon a check made at the time of picking.” 328 U.S. at 296 (emphasis added).

                        (b)      Ongoing Contractual Obligations Are Not Required.

        Defendants argue both that there is no common enterprise because there is no enterprise under

their control, Def. Br. at 41-42, and also that there is no common enterprise because they are in sole

control of whether and how to expend the proceeds from Ripple’s sales of XRP. Def. Br. at 46-47.

This appears to be another argument that legal obligations to make efforts are required, which is

wrong. See also infra § II.C.1 (addressing lack of ongoing contractual obligations requirement).

                        (c)      Defendants Misstate the “Pooling” Element.

        When they address Revak’s actual horizontal commonality test, Defendants contend that

“pooling” is absent because proceeds from Ripple’s sales were not pooled with the Individual

Defendants’ sales. Def. Br. at 45 n.26. This contention is factually incorrect and legally irrelevant. GSR

pooled all proceeds from all XRP sales by all Defendants at least until mid-2018. See Counter 56.1



                                                    31
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 41 of 85



¶¶ 331; 351-56; PX 26 at 141-44. Regardless, Revak does not require that the issuer’s affiliates pool

their sales proceeds with the issuer’s. The suggestion that XRP sales proceeds from “third-party

sellers on exchanges” must be pooled with Ripple’s, Def. Br. at 45, likewise misses the mark. What is

required is that the promoter or issuer pool the proceeds of its sales, as opposed to segregating investor

proceeds. Kik, 492 F. Supp. 3d at 178-79. Ripple indisputably did this. SEC 56.1 ¶¶ 647, 649-51. 19

                2.       “Strict Vertical” Commonality Exists.

                         (a)     Courts in this Circuit Accept Strict Vertical Commonality.

        Defendants urge the Court to reject “strict vertical” commonality as a viable theory by

misleadingly suggesting that the Sixth Circuit has held this approach is “inconsistent with Howey,”

Def. Br. at 48 (citing Curran v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 622 F.2d 216, 224 (6th Cir.

1980)). But the Sixth Circuit said no such thing, and neither has any court in the Second Circuit.

        In Revak, the Second Circuit first defined horizontal commonality as described above. 18

F.3d at 87. Revak then analyzed two forms of “vertical” commonality—“broad vertical” or “strict

vertical”—and whether either could also independently establish a “common enterprise.” Revak

reasoned that “broad vertical” commonality, which links the fortunes of an investor to the efforts of a

promoter, asks essentially the same question as whether profits are to be derived from the efforts of

others, such that “two separate questions posed by Howey … are effectively merged into a single

inquiry.” Id. at 88. Revak held that, for that reason, “broad vertical” commonality was insufficient to

establish a common enterprise. With respect to “strict vertical” commonalty, however, Revak said

nothing other than, based on the record, it “need not address the question.” Id.




19
        Defendants acknowledge “XRP is fungible.” Def. Br. at 37. To argue this does not establish
horizontal commonality, Defendants erroneously claim that what is required is that “XRP holders
depend upon one another to earn profits.” Id. at 43. But that is not the test. The requirement is that
the fortunes of XRP investors rise and fall together—as XRP’s fungible character indisputably
shows that they do—not that the fortunes of XRP holders are dependent upon “one another.”


                                                     32
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 42 of 85



        After Revak, Judge Baer observed: “courts in the Southern District have consistently held

that strict vertical commonality is sufficient to establish a common enterprise.” Walther v. Maricopa

Int’l Inv. Corp., 1998 WL 186736, at *6 (S.D.N.Y. 1998) (collecting cases). Judge McMahon agreed

that “courts in this district have held that strict vertical commonality…is sufficient to establish a

common enterprise,” listing five pre- and post-Revak decisions reaching this conclusion, and held

that strict vertical commonality sufficed. In re J.P. Jeanneret Assocs., Inc., 769 F. Supp. 2d 340, 360

(S.D.N.Y. 2011) (collecting cases). Multiple courts in this circuit have since followed suit. See Rocky

Aspen Mgmt. 204 LLC v. Hanford Holdings, LLC, 230 F. Supp. 3d 159, 165 (S.D.N.Y. 2017); Telegram,

448 F. Supp. 3d at 370-71; Gugick v. Melville Cap., LLC, 2014 WL 349526, at *4-5 (S.D.N.Y. Jan. 31,

2014) (strict vertical commonality suffices but not satisfied); Balestra, 380 F. Supp. 3d at 353 n.10

(strict commonality suffices but not reaching it) (citing Gugick); Audet, 2022 WL 1912866, at *15 n.5

(strict vertical commonality suffices, was not met as to one investment, and not deciding whether it

was met as to another); Marini, 812 F. Supp. 2d at 256 (strict vertical commonality suffices).

        Against this backdrop, Defendants’ contention that “most” courts that have “considered

strict vertical commonality have rejected it or expressed doubts,” Def. Br. at 48, is simply untrue.

The principal case they cite, Curran, did not do so. While Curran did not distinguish between the two

types of vertical commonality, the Sixth Circuit clearly referred to broad vertical commonality when

it reasoned that finding commonality “based solely upon the fact of entrustment by a single principle

of money to an agent effectively excises the common enterprise requirement of Howey” and would

make commonality “redundant of other elements of the definition of a security.” 622 F.2d at 224.

This is the exact reasoning Revak applied to reject broad vertical commonality. 20 Accordingly, there is



20
         The other cases Defendants cite, Def. Br. at 48 n.28, similarly do not criticize or reject strict
vertical commonality. Another Sixth Circuit case, Deckebach v. La Vida Charters Inc. of Florida, did not
mention the strict version of the test. 867 F.2d 278, 282 (6th Cir. 1989); see also Wals v. Fox Hills Dev.
Corp., 24 F.3d 1016, 1019 (7th Cir. 1994) (not distinguishing between the two types of vertical


                                                     33
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 43 of 85



no “persuasive reasoning” from Curran upon which to reject strict vertical commonality, Def. Br. at

48, especially given the unified chorus of courts in this Circuit that hold otherwise.

                        (b)     Defendants’ and Investors’ Fortunes Rose and Fell Together.

        Defendants do not dispute that the “fortunes of [XRP] investors [are] tied to the fortunes

of” Ripple due to Ripple’s massive XRP holdings. See Revak, 18 F.3d at 88. Defendants instead note

that XRP investors may experience losses on their XRP holdings while Ripple the company has

positive income or sees its equity increase in value. See Def. Br. at 48-49. These apples to oranges

comparisons are unavailing. A company may run businesses as to which it has not offered

investment contracts while still offering investment contracts to public investors for other aspects of

its business. In Howey itself, for example, the promoter ran at least two businesses with income

streams separate from the orange grove investments—a hotel for tourists, and orange grove

caretaking services to parties that had not entered into the land purchase agreement. See App’x

(Howey Record) at 7-10 (Stip. ¶¶ 8, 12, 14, 16). The Howey investors could suffer a loss with respect

to the orange grove investments and the Howey promoter could still turn a profit on these separate

businesses. Here, that XRP is not equity in Ripple Labs, Inc. is irrelevant to whether strict vertical

commonality exists between Ripple and XRP investors. See also Def. Br. at 6 (referring to funds

raised from sale of Ripple stock (insufficient to cover Ripple’s $2 billion expenses, SEC 56.1 ¶ 145)).

        Defendants’ reliance on cases finding no strict vertical commonality for one-on-one

arrangements between stockbrokers and their clients are all unavailing, as those cases typically

involved the broker collecting a fee upfront with no additional financial exposure to the underlying

investments. See Def. Br. at 48 & n.29. Kaplan v. Shapiro, for example, involved an arrangement that

did not provide for “any commissions for managing” the investments. 655 F. Supp. 336, 341



commonality). And, in SG Ltd., the First Circuit merely took “no view as to whether vertical
commonality, in either of its iterations, also may suffice.” 265 F.3d at 50 n.2.


                                                   34
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 44 of 85



(S.D.N.Y. 1987). Conversely, Jeanneret involved a similar arrangement but, there, the investment

manager was paid in part through a 20% performance fee for managing the investment. 769 F.

Supp. 2d at 360. Thus, “financial compensation was linked to the fortunes of the investors” and

strict vertical commonality existed. Id. Here, Ripple admittedly retained the majority of XRP in

existence, and would benefit from an increase (or suffer a loss from the decrease) in XRP’s value.

        More generally, cases that involve one-to-one arrangements (such as Kaplan, Curran,

Deckebach, and Wals, Def. Br. at 48-49 & nn. 28, 29) have nothing to do with a public distribution of

securities. Indeed, Defendants emphasize the lack of individualized arrangements between Ripple

and XRP investors. Def. Br. at 10-11, 37-38; see also Gary Plastic, 756 F.2d at 241 (distinguishing a

“one-of-a-kind arrangement” with a promoter from a program “offered to the public at large”). 21

                3.      Defendants’ Other “Common Enterprise” Contentions Are Wrong.

                        (a)     There Is No “Economic Equivalent” of Stock Requirement.

        Defendants argue a common enterprise only exists when issuers offer “the economic

equivalent of stock.” Def. Br. at 38. This is another requirement Defendants simply invent.

        First, Defendants provide no support for the “economic equivalent of stock” theory other

than misleadingly citing Howey’s passage that “all of the elements of a profit-seeking business venture

[we]re present” because the “investors provide the capital and share in the earnings and profits” and

the “promoters manage, control, and operate the enterprise.” Def. Br. at 38, 44-47 (citing Howey, 328

U.S. at 300). But that passage does not purport to define “common enterprise.” It simply describes

the classic profit-seeking business that existed despite the presence of various separable parts, with




21
         Defendants finally argue against “strict vertical” commonality because many participants
exist in the so-called “XRP ecosystem” such that some may profit while others do not. Def. Br. at
49. But the existence of other players in the market is irrelevant (just as the orange markets involved
many other participants than Howey’s promoter and investors). The question is whether the fortunes
of Ripple and XRP investors are tied together. They indisputably are here.


                                                   35
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 45 of 85



the Court laying out “[t]he test” to be followed later in the opinion. Id. at 301. Nowhere does Howey,

or any subsequent case, create an “economic equivalent of stock” requirement.

        Moreover, the facts of Howey foreclose requiring stock-like traits. That case involved two

corporations, one a land owner and the other a servicing company. See App’x A (Howey Record) at

5-6. Each company had five “stockholders.” Id. at 6. The servicing company serviced and harvested

the groves sold by the landowner company. Id. at 7 (Stip. ¶¶ 8, 10), at 15-20 (Ex. B § 2(c)); see also

Howey, 328 U.S. at 294-95. But Howey investors had no right to the dividends of either corporation or

to inspect their books, no voting rights, and no rights to appoint directors.

        Nor do Defendants cite to any case in the Second Circuit for their “economic equivalent”

test. To the contrary, Revak plainly sets forth the test for horizontal commonality without including

an “equivalence to stock” requirement. If the “equivalent of stock” test were part of “common

enterprise,” then Revak, Leonard, Telegram, Kik, Balestra, Audet, and Jobanputra (and all the other cases

applying Howey, including to crypto assets, see SEC Br. at 49) all missed it. Defendants’ sole citation

to law is instead to Ass’n of Am. R.R. v. United States, which construed the term “securities” in the

Interstate Commerce Act (“ICA”) while explicitly stating it was not interpreting the Securities Act. 603

F.2d 953, 958, 971-72 (D.C. Cir. 1979). The ICA narrowly defines “securities” to include only “any

share of capital stock or any bond or other evidence of interest” in a carrier. Id. at 958 n.8. The

Securities Act definition of the term, of course, is far more expansive. 15 U.S.C. § 77b(a)(1).

        Second, Defendants’ argument ignores the Securities Act’s plain text, which defines “security”

to include specific terms like “stock,” which have “well settled meaning[s],” but also separately lists

the more general term “investment contracts.” Joiner, 320 U.S. at 351. Thus, Joiner held it would not,

in construing “investment contracts,” “read out of the statute these general descriptive designations

merely because more specific ones have been used to reach some kinds of documents.” Id.; see also

Golden v. Garafalo, 678 F.2d 1139, 1143 (2d Cir. 1982) (“investment contract” is a “catch-all phrase”).



                                                    36
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 46 of 85



        Following Joiner, Tcherepnin held that “withdrawable capital shares”—which did not provide

the right to inspect the books and records or rights of preemption—were nevertheless “investment

contracts.” 389 U.S. at 343-44. Those characteristics “distinguish among different types of

securities” but “do not, standing alone, govern whether a particular instrument is a security.” Id. at

344. Tcherepnin also reaffirmed that it would not “read the words an ‘instrument commonly known as

a “security’” … as a limitation on the [Securities Act’s] other descriptive terms.” Id. at 343.

        Consistent with the foregoing, Reves identified the three distinct tests to determine whether

an instrument is a “stock,” “note,” or “investment contract” under the securities laws. 494 U.S. at

61. These definitions were “the best way to achieve [Congress’] goal of protecting investors” and to

reach the “countless and variable schemes devised by those who seek the use of the money of others

on the promise of profit.” Id. (citing Howey, 328 U.S. at 299). Finally, Edwards clearly rejected

Defendants’ argument, Def. Br. at 40, that an investment contract requires that XRP investors have

a right to Ripple’s profits. 540 U.S. at 392-397 (rejecting that Howey requires “a participation in the

earnings of the enterprise”). The “equivalent of stock” test—which would collapse the definition of

“investment contract” into the term “stock”—is foreclosed by Joiner, Tcherepnin, Reves, and Edwards.

                        (b)     Control of the Market for the Instruments by the Issuer Is Not
                                Required to Find a “Common Enterprise.”

        Defendants next fault the SEC for too broadly defining the “enterprise” at issue as the

“XRP ecosystem,” a term Defendants coined and touted. See Counter-Statement § II.A. This is yet

another red herring based on two faulty premises—that the SEC must show that Ripple was the only

party making efforts as to XRP and that Ripple had to “control” XRP. No such requirements exist.

        As a threshold matter, courts routinely define the “enterprise” in broad terms. In Continental

Marketing Corp. v. SEC, for example, the promoter sold beavers while encouraging purchasers to

transfer their beavers into the care of third-parties who would manage their reproduction and the

sale of their offspring. 387 F.2d 466, 470 (10th Cir. 1967). Finding the arrangements constituted


                                                   37
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 47 of 85



“investment contracts,” the court held that the “economic inducement” was to invest “in the

success of the enterprise—the domestic beaver industry,” id. at 471, of which the promoter

“represented itself as an integral part.” Id. at 468.

        Further, the law does not require that the promoter “control” the underlying asset or its

price. The Howey promoters could not control the price of oranges, and were not the only company

offering orange growing services. App’x A (Howey Record) at 9-10. And the promoter in Cont’l

Mktg. did not “own” or “control” the “domestic beaver industry.” See also Glen-Arden, 493 F.2d at

1032 (“the value of Scotch [was] determined by the basic laws of supply and demand”). Glen-Arden

likewise dispels Defendants’ suggestion that there can be no common enterprise because XRP

investors may decide “individually whether and when to sell” their XRP, and that their only

“common interest” is “in XRP’s price when they decide to sell.” Def. Br. at 43. Glen-Arden, like

many other cases, found investment contracts despite purchasers being able to individually sell out

of their investments separately. 493 F.2d at 1031; see also Kik, 492 F. Supp. 3d at 179 (rejecting

argument that there could be no commonality because investors could sell at separate times).

        What commonality requires is far more modest than the monopolistic, all controlling version

of the Howey test that Defendants posit. That others may also be making efforts to find uses for

XRP or otherwise profit from it, e.g., Def. Br. at 42, is immaterial. Ripple succeeded in selling XRP

by claiming to be managing (i.e., controlling) the funds raised by those sales to expend efforts to

develop XRP’s value. That is the essence of a common enterprise. Kik, 492. F. Supp. 3d at 179.

        Here, of course, Ripple had far more control over XRP than the Howey promoter had over

the market for oranges. Ripple controlled most of the initial supply of XRP and sought to influence

demand using its considerable funds. Ripple has even managed the development of others’ efforts by

using its ample XRP resources to support them. And, since at its inception XRP had no use, no

market, and no price, SEC 56.1 ¶¶ 104-08, Ripple also laid down the “building blocks” of this



                                                        38
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 48 of 85



market and further developed it through efforts and its “significant economic power” in that market.

SEC Br. at 13-14, 23-26; SEC 56.1 ¶¶ 592-605. The contributions of others, whether real or

theoretical, into an “ecosystem” are irrelevant when Ripple continues to tout, and actually expend,

significant efforts to manage the development of the ecosystem. 22

                4.      Courts Have Long Rejected the Argument that Offers and Sales of
                        “Ordinary Assets” Must Fall Outside the Federal Securities Laws.

        Defendants also suggest that even if there is a common enterprise with respect to XRP,

Defendants did not sell investment contracts because commonality also exists with respect to certain

“ordinary assets.” Def. Br. at 42-44 (cases involving “gold coins,” “silver bars,” and “sugar futures”);

id. at 3 (arguing the SEC seeks to “convert the sale of all types of ordinary assets…into sales of

securities”). This fallacious argument implies that the analysis should end at “commonality”—but

Ripple’s XRP offers and sales meet all the elements of Howey; that assets like gold may not is

irrelevant. Moreover, the key inquiry is whether an asset was offered and sold as an investment or as an

ordinary asset. Defendants never argue that XRP was sold as an ordinary asset, but two amici suggest

that XRP was not sold as an investment. They, too, are wrong.

                        (a)     “Ordinary Assets” May Be Offered and Sold As Investments.

        That a separate asset sold as part of an investment contract may have intrinsic value is

immaterial. Howey itself found the sale of orange tracts, which can be sold as real estate or as

commodities, was nevertheless the sale of investment contracts. See 328 U.S. at 301 (“reject[ing] the

suggestion…that an investment contract is necessarily missing … where the tangible interest which


22
         Further refusing to grapple with the horizontal or strict vertical commonality tests,
Defendants misstate the SEC’s position. They italicize a subpart of an SEC interrogatory answer to
misleadingly argue the SEC’s “common enterprise” theory is focused on Ripple’s efforts and
therefore relying on broad vertical commonality. Def. Br. at 40-41. Not so. As the SEC’s opening
brief makes clear, SEC Br. at 50-53, the SEC’s “common enterprise” theory—unlike Defendants’—
is squarely based on horizontal and strict vertical commonality. The SEC’s citation to Ripple’s
efforts relates to the “reasonable expectation of profits based on the efforts of others” part of the
analysis, e.g., SEC Br. at 59-63, which Revak itself explains is relevant to the analysis. 18 F.3d at 88.


                                                   39
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 49 of 85



is sold has intrinsic value independent of the success of the enterprise as a whole,” and holding that

it was “immaterial … whether there is a sale of property with or without intrinsic value”).

        Similarly, in Joiner, which involved oil and gas interests that also could have been sold as

commodities, the Court cited examples of sales of assets that became investment contracts. 320 U.S.

352-53 and n.10 (“One’s cemetery lot is not ordinarily thought of as an investment and is most

certainly real estate. But when such interests become the subjects of speculation in connection with

the cemetery enterprise, courts have held conveyances of these lots to be securities.”) (omitting

citations to various cases holding that “purported sales of property have been held ‘investment

contracts’”); see also Penfield Co. of Cal. v. SEC, 143 F.2d 746, 750 (9th Cir. 1944) (“The term

‘investment contract’ particularly, which appears in thirty of the state [blue sky] acts, has been

construed in a long line of cases, both federal and state” to apply even if “the promoter clothes [the

transaction] with the appearance of a transaction in some species of real or personal property.”). 23

        Glen-Arden affirmed a preliminary injunction to stop a promoter from offering and selling

Scotch whisky warehouse receipts. 493 F.2d at 1036. The promoter, like Defendants here, argued

that the underlying “thing” being sold was a “commodity” with intrinsic value. Id. at 1033. The

Second Circuit rejected this argument, noting the “long line of cases where purported sales of

tangible property…were held to be investment contracts.” Id. at 1035 (collecting cases); see also

Fedance v. Harris, 1 F.4th 1278, 1288-89 (11th Cir. 2021) (“Plenty of items that can be consumed or


23
         Accordingly, examples abound where courts properly reached different conclusions with
respect to the sale of a similar tangible asset based upon the economic reality of the transaction, like
the presence or absence of representations by the promoter that it would engage in certain efforts.
Compare SEC v. Life Partners, Inc., 87 F.3d 536, 545-56 (D.C. Cir. 1996) (investment into life insurance
proceeds failed Howey because the activities of promoters were ministerial) with SEC v. Tyler, 2002
WL 32538418, at *5-6 (N.D. Tex. Feb. 21, 2002) (same instruments were investment contracts
because managerial activities by promoter were part of investment inducement); compare Noa v. Key
Futures, Inc., 638 F.2d 77, 80 (9th Cir. 1980) (sale and custodial arrangement for silver bars failed
Howey because no assets were pooled) with Connors v. Lexington Ins. Co., 666 F. Supp. 434 (E.D.N.Y.
1987) (similar sale was investment contract because pooling occurred). Not one of these cases reaches
the outcome by simply asking whether an “ordinary asset” is involved. All of them apply Howey’s test.


                                                    40
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 50 of 85



used...have been the subject of transactions determined to be securities because they had the

attributes of an investment”) (citations omitted). This applies even when the “thing” underlying the

“sale” may be used as another financial instrument. See Gary Plastic, 756 F.2d at 240 (bank CDs).

        Of course, what distinguishes XRP from the examples Defendants cite is that Ripple’s

founders created XRP, XRP had no intrinsic value when it was created, Ripple owned the majority

of XRP, and Ripple took extensive efforts to create a trading market, protect its liquidity, increase its

utility, and defend its price. The same cannot be said for any of the “ordinary assets” Defendants

cite. Def. Br. at 42-44 & n.16; see also Bender v. Cont’l Towers Ltd. P’Ship, 632 F. Supp. 497, 501

(S.D.N.Y. 1986) (“A piece of real estate … has inherent worth, a worth not solely dependent on the

efforts of a promoter.”); infra § II.C.2(b) (addressing cases involving real estate).

                         (b)     Defendants Did Not Sell XRP For Use Or Consumption.

        For these reasons, it is not enough to just say that XRP is a commodity (or a currency)—

Howey does not turn on labels. See Zaslavskiy, 2018 WL 4346339, at *7 (labeling a digital token as

“cryptocurrency” does not control the outcome). What matters under the law is the economic

substance or the manner in which the instruments are offered and sold. Two amici make passing

references to Forman and claim to be “users” of XRP, such that they had no “expectation of profits”

from their interaction with XRP. See D.E. 660 at 5 (brief of I-Remit, Inc.); D.E. 661 at 8, 661-1

(brief of TapJets, Inc. and supporting affidavit). The amici’s untested, post-discovery insertion of

facts into the record does not change the outcome.

        The “use” or “consumption” (as opposed to “profit”) concept derives from Forman’s

holding that shares in a housing co-op, entitling the holder to lease an apartment, were not

“investment contracts.” 421 U.S. at 857-59. The Court reasoned that this result followed for at least

two reasons. First, “[t]he sole purpose of acquiring the[] shares [was] to enable the purchaser to

occupy an apartment,” and the shares “c[ould] not be transferred to a nontenant” and had to be sold



                                                    41
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 51 of 85



back to the co-op at the price originally paid, which was $26. Id. at 842-43 (emphasis added). Second,

the purchasers “were attracted solely by the prospect of acquiring a place to live, and not by financial

returns” because purchasers would “be unable to resell their apartments at a profit since the

apartment must first be offered back” to the co-op. Id. at 853-54 (emphasis added).

        Thus, courts considering whether an instrument was purchased for use under Forman

typically consider the following three factors:

        (1) whether the amount sold was indicative of a true consumptive purpose; compare Grenader
            v. Spitz, 537 F.2d 612, 617-618 (2d Cir. 1976) (co-op shares were not investment
            contracts because “[t]he number of shares [available was] . . . clearly in proportion to the
            size and location of the apartment . . . .”) with Cameron v. Outdoor Resorts of America, Inc.,
            608 F.2d 187, 193 (5th Cir. 1979) (since investors were sold many units, they “manifestly
            could not use” all of them, and the shares were investment contracts);

        (2) whether the promoter, despite disclaiming that the instruments could only be “used,”
            also made representations that “fueled expectations of profit,” SG Ltd., 265 F.3d at 53-
            54 (statements discussing potential returns “constitute[s] a not-very-subtle form of
            economic inducement” at odds with the bulletin in Forman that “nowhere” sought “to
            attract investors by the prospect of profits” (citing Forman, 421 U.S. at 854)); and

        (3) whether it is reasonable to expect purchasers to “use” the item, e.g., Kemmerer v. Weaver,
            445 F.2d 76, 79-80 (7th Cir. 1971) (sale and care of beavers was investment contract
            because “as a practical matter, it would have been physically impossible for the average
            purchaser of live breeding beaver to take absolute possession of his animals …”).

        The undisputed facts foreclose any suggestion by Defendants’ amici that Defendants sold

XRP “solely” or even principally for “use,” a contention that Defendants themselves do not make.

        First, Ripple did not sell XRP in amounts commensurate with any use, but instead sold from

based mostly on the average trading volume for XRP, which is infinitesimally divisible. SEC 56.1

¶¶ 17, 633-40. Defendants make no claim that any XRP purchaser ever has been limited to buying

only the amount of XRP needed to use, say, on ODL. Indeed, only a small subset of money services

businesses, and not the individuals to whom Defendants sold XRP, even used ODL (a product that

did not exist until late 2018), and Ripple mostly did not sell XRP to them. SEC 56.1 ¶¶ 109, 739-48;

Counter 56.1 ¶¶ 149, 155; 179-183; 186-88; PX 15 at 195; 204-06; PX 7 at 193-95; PX 16 at 182-83;



                                                   42
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 52 of 85



PX 6 at 42-43; PX 21 at 298-99; PX 8 No. 90; PX 8 No. 95; PX 25 at 47; PX 8 No. 94; PX 81 at

336. Nor is the transferability of XRP limited, as were the co-op shares in Forman and Grenader. With

respect to the small subset of XRP sold to ODL users, the whole point was that the ODL users

would immediately resell it to public investors, as they all indisputably did. SEC 56.1 ¶¶ 755, 760,

787-88; see also Counter 56.1 ¶ 234; PX 634 ¶ 24. Amicus I-Remit, for example, touts that it buys XRP

(not from Ripple, but from an XRP investor in the U.S. markets) and then “instantaneously” resells

it. D.E. 660 at 3. Such economic reality is inconsistent with consumptive use. Cameron, 608 F.2d at

193. Thus, as the CFO of MGI explained—XRP “wasn’t a currency” on ODL. Counter 56.1 ¶ 252;

PX 624 at 113-14. ODL was simply a mechanism that relied almost exclusively on the existence of

speculative, investment-related trading of XRP on both sides of a transaction.

        Second, Defendants cannot dispute that, prior to ODL’s launch in late 2018, they marketed

XRP primarily as an investment and not for any consumptive use, and they cannot dispute that their

investment-related marketing of XRP continued after 2018. See, e.g., Def. Br. at 57 (noting most of

the promotional statements at issue were in 2017); see also SEC Br. at 18-26, 53-63. The record

plainly forecloses any conclusion that “[n]owhere” does Ripple’s marketing speak of the possibility

of profits in addition to “uses.” Forman, 421 U.S. at 854.

        Defendants’ actual sales similarly foreclose any argument that Defendants sold XRP

primarily or even mostly for any consumptive use. Defendants’ sales targeted speculators, not

individuals in, for example, countries that may need to use crypto assets as a substitute for unsuitable

fiat currencies. SEC 56.1 ¶¶ 648, 670-709. Defendants’ Institutional Sales in particular—to

sophisticated investors, venture capital firms, and crypto asset speculators, some with discounts to

prevailing market prices that encouraged profit-taking—demonstrate this economic reality. Id. at

¶¶ 531, 533-34, 572, 574, 717-18, 721, 723, 790-95. Here, as in Telegram, Ripple “did not focus on

cryptocurrency enthusiasts, specialty digital asset firms, or even mass market individuals who had a



                                                   43
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 53 of 85



need for an alternative to fiat currency” but instead “selected sophisticated venture capital firms …

with an inherent preference (i.e. their business model) toward an investment intent rather than a

consumptive use.” 448 F. Supp. 3d at 373-74 (holding that these factors, and large size and

concentration of Grams sales, and sales at discounted market prices with lockups, all supported

finding that Grams were not sold as “as a substitute currency to store and transfer value”).

        Third, for many of the same reasons, it is not reasonable to expect the average XRP

purchasers in the market to be buying them to “use” them. Ripple specifically disclaimed that XRP

is a “currency” for regular individuals to buy goods and services. See supra Counter-Statement § I.B.

By contrast, Ripple has made efforts to ensure XRP is freely tradeable, facilitating investment profits.

Counter 56.1 ¶¶ 46-63; PX 715, Ex. 13; PX 716-722; PX 25 at 147-48, 235; PX 645 at 30-31; PX

506.107; PX 501.05; SEC 56.1 ¶¶ 479-98. Cf. Aqua-Sonic, 687 F.2d at 583-84 (Howey not defeated

based on theoretical “efforts” investors could make, where marketer did not seek out investors, or

limit sales, based on purchasers’ ability to actually make such efforts). 24

        Finally, even if some subset of purchasers were motivated by their desire to “use” XRP, that

would not make the offer and sale of XRP something other than an investment contract. As noted,

the Howey inquiry is objective and focused on what investors were offered and what was represented

to them, not on the precise motivation of each purchaser. See Telegram, 448 F. Supp. 3d at 371;

Warfield v. Alaniz, 569 F.3d 1015, 1021 (9th Cir. 2009). After all, investors in Glen-Arden, 493 F.2d at

1031, who technically bought only whiskey, could have drunk it; and the investors in Miller v. Cent.



24
        Ripple’s amici provide no concrete evidence of any use of XRP. For example, while the
TapJets CEO touts that TapJets once “accept[ed] XRP as payment,” he carefully never states how
much XRP was actually accepted from the individuals paying $60,000 for a private flight or even
whether a single such transaction was ever made (facts that could have been fleshed out at a
deposition, had he been disclosed as a witness in this case). See D.E. 661 at 2-3; D.E. 661-1 ¶ 21.
Moreover, while the CEO simply claims to then “use” XRP to pay TapJets’ vendors (again without
supplying any of the backup evidence that would be asked of him in discovery), he also admits he
converts the XRP into actual currency, belying any claim that XRP is currency. See D.E. 661-1 ¶ 21.


                                                    44
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 54 of 85



Chinchilla Grp., Inc., 494 F.2d 414, 417-18 (8th Cir. 1974), who bought live chinchillas, could have

made coats from them. The existence of, or even the desire for, some consumptive use does not

defeat Howey’s “expectation of profit” prong.

        Indeed, as explained in SEC v. Feng, the prong is satisfied even when “the investors’ primary

reason to participate” in a scheme was consumptive. 935 F.3d 721, 730-31 (9th Cir. 2019) (investors

sought to secure visas they would undeniably use); see also Solis, 2018 WL 6445543, at *3 (rejecting

“use” argument with respect to digital asset that could supposedly unlock in-network uses, given

that the platform had “limited functionality” at the time); Scoville, 913 F.3d at 1221 (where evidence

showed purchasers bought “in order to obtain the incredible returns on . . . investment” and “had

no interest in the” services the promoter offered, instruments were “investment contracts”).

        The economic reality and the undisputed facts foreclose any claim that XRP is outside the

scope of the federal securities laws based on Forman. Ripple had found no “use” for XRP until the

ODL product, which did not occur until 2018. Even at that point, Ripple did not sell XRP for its

purported “use” to any ODL customer until mid-2020. The ODL customers simply took whatever

XRP they found in the open market and immediately resold it, as one amicus willingly concedes.

ODL users buying XRP from the market and reselling it is not at issue and does not affect the

analysis. Meanwhile, Ripple sold hundreds of millions of dollars of XRP to public investors, and $0

to ODL customers by mid-2020. Instead, Ripple was actually paying ODL customers to “use,” or as

Schwartz described it, to “suffer” that product. See Counter 56.1 ¶¶ 178, 210-12, 224-28, 230-33,

251-57, 262, 271, 281; PX 7 at 212-16; PX 624; PX 634 ¶¶ 13-33. 25


25
        As the SEC has consistently noted in response to Defendants’ persistent attempts to confuse
the record, XRP transactions between two public investors not involving Ripple’s affiliates, dealers,
or underwriters would be exempt from Section 5’s registration requirements, despite such
transactions involving securities. See 15 U.S.C. § 77d(a)(1). This case is about whether Defendants’
offers and sales must be registered. The SEC’s theory here has no more “impossible breadth,” Def.
Br. at 14 n.10, than claiming that an issuer of securities like stocks and bonds must register their
offers and sales, even while public investors may generally trade those securities among themselves


                                                  45
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 55 of 85



        Most revealing is that when Ripple did sell approximately $70 million of XRP to entities

operating ODL it quickly rebought the XRP it sold. See supra Counter-Statement § II. No seller of an

actual “ordinary asset” (like diamonds or land) would do this. The economic reality is that Ripple

was concerned with managing XRP’s liquidity and value in the public trading markets because it

depended on being able to sell XRP into that market to fund its business, SEC 56.1 ¶¶ 144-70, just

like the issuer of traditional securities would, and quite unlike the seller of an “ordinary asset.”

        In sum, even viewing XRP through the “ordinary asset” lens does not change the outcome.

There is nothing unusual about an investment contract involving a concurrent sale of a commodity,

a currency, real property, or a crypto asset. A security exists when the asset is being offered and sold as

an investment, whereby purchasers are led to reasonably expect profits from others’ efforts. That is

how XRP was offered and sold, and the economic reality forecloses any other conclusion. 26

        C.      XRP Investors Reasonably Expected Profits Based Upon Ripple’s Efforts.

        Defendants led XRP investors to expect profits based upon Ripple’s efforts. The Second

Circuit notes that the question under Howey is “whether, under all the circumstances, the scheme was

being promoted primarily as an investment or as a means whereby participants could pool their own


without having to do so. See Jobanputra, 2022 WL 4538201, at *8 n.8 (crypto assets “sold … in the
general market” may be securities). Nor does the SEC allege that an investor that buys XRP from
another investor is “entering into an investment contract” with that investor, as one amicus appears
to believe. See D.E. 634-1 at 10. Those investors are buying and selling Ripple’s investment contracts
from each other, in securities transactions exempt from registration. Amicus Chamber of Digital
Commerce raises a separate question, which is whether at some point in time XRP is
“decentralized” such that it no longer represents the investment contracts offered and sold by
Ripple. D.E. 634-1 at 12 (relying on a term, “decentralized,” that Ripple disavows, claiming it “lacks
any settled meaning—both under the securities law and in the computer-science field,” D.E. 541 at
2). As neither the Chamber nor Defendants contend that this is the present state of XRP, or was at
any time during the relevant period, that separate question is not at issue.
26
        As noted previously, amici offer no support for their purported primary justification for
advocating Defendants’ position, their belief that a finding of Ripple’s liability would harm their
businesses due to their purported use of XRP. Indeed, amici still do not and cannot explain how
Defendants being required to register their XRP distributions—the outcome the SEC is seeking to
enforce—would prevent amici from using XRP or otherwise impact their business.


                                                    46
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 56 of 85



activities, their money and the promoter’s contribution in a meaningful way.” Leonard, 529 F.3d at 88

(quoting Aqua-Sonic, 687 F.2d at 582). The “critical inquiry is ‘whether the efforts made by those

other than the investor are the undeniably significant ones.’” SEC v. Koscot Interplanetary, Inc., 497

F.2d 473, 483 (5th Cir. 1974) (citing SEC v. Glen W. Turner Enterprises, Inc., 474 F.2d 476, 482 (9th

Cir. 1973)). Here, Defendants persistently marketed XRP as an investment. They publicly promised

to undertake efforts to find uses that could generate value and act as responsible “stewards” of the

XRP market, highlighted their strong financial incentives to undertake these efforts for a long time,

and touted when they executed on some of these representations. See SEC Br. at 18-26, 53-63.

                1.      Ongoing Contractual Obligations Are Not Required.

        Defendants argue that a contractual “obligation to expend efforts” is required to establish

expectation of profits from the efforts of another. Def. Br. at 49-50. This is wrong.

                        (a)      Howey Does Not Require Investors’ Expectations Be Derived
                                 from Representations in Written Agreements.

        Even before Howey, the Supreme Court found investment contracts where investors’

expectations derived from promotional materials and not written agreements. Joiner held the sale of

oil leasehold interests gave rise to investment contracts, even though the promoter’s intent to drill an

exploratory oil well appeared only in sales literature and not in the leasehold assignments. 320 U.S. at

346-48. Joiner looked to these representations to determine whether, given the factual setting as a

whole, an investment contract existed, emphasizing: “The exploration enterprise was woven into

these leaseholds, in both an economic and a legal sense; the undertaking to drill a well runs through

the whole transaction as the thread on which everybody’s beads were strung.” Id. at 348. In fact, as

set forth in the underlying opinion of the court of appeals, the leasehold assignments did not impose

any contractual obligations to drill a well. See SEC v. C.M. Joiner Leasing Corp., 133 F.2d 241, 242-45

(5th Cir. 1943) aff’d 320 U.S. at 348. Further, Joiner found it “unnecessary to determine” whether the

promoter’s non-contractual statements created legal rights under state law, as “acceptance of the


                                                    47
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 57 of 85



offer quoted” created “a form of investment contract in which the purchaser was paying both for a

lease and for a development project.” Id. at 349.

        Since Joiner, the Supreme Court has consistently assessed all representations used to solicit

investors, including focusing on the “sales talk” in Howey, 328 U.S. at 297, and examining what the

investment was “represented to be,” not simply the legally binding contracts, in SEC v. United Benefit

Life Ins. Co., 387 U.S. 202, 211 (1967) (citing Joiner). The Court did so again in Edwards, by quoting

the “promotional brochure” and “representations” made on “marketing materials and on [the

promoter’s] Web site.” 540 U.S. at 391-92.

        Appellate courts have followed suit, routinely finding investment contracts based on claims

to engage in efforts regardless of the existence of common law contracts. Gary Plastic, for example,

found an investment contract based in part on Merrill Lynch’s statement in an “Information

Bulletin” that it “fully intends to maintain a secondary market for its customers which would enable

them to sell” the instruments they were buying from Merrill Lynch, and on its “implicit promise to

maintain its marketing efforts” with respect to the instruments. 756 F.2d at 233, 240; Glen-Arden, 493

F.2d at 1031-32 (relying on “sales literature” and a “canned sales pitch” to determine reasonable

expectations of investors); Aqua-Sonic, 687 F.2d at 583 (examining “promotional materials”); SEC v.

Shields, 744 F.3d 633, 646 (10th Cir. 2014) (“[W]e look at all the representations made by the

promoter in marketing the interests, not just at the legal agreements underlying the sale of the

interest.”); SEC v. Merchant Cap., LLC, 483 F.3d 747, 756 (11th Cir. 2007) (same); Koscot, 497 F.2d at

476 (“it is upon the promotional aspects that we focus”).

        Applying the same reasoning, Leonard looked “beyond the formal terms of a relationship to

the reality of the parties’ positions.” 529 F.3d at 85; see also Bamert v. Pulte Home Corp., 445 F. App’x

256, 259-60 (11th Cir. 2011) (despite integrations clauses in the purchase agreements at issue, the

complaint plausibly alleged the existence of investment contracts based on defendants’ oral



                                                    48
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 58 of 85



representations); Aldrich v. McCulloch Properties, Inc., 627 F.2d 1036, 1039-40 (10th Cir. 1980)

(investment contract can exist if there is a “contract or promise to provide significant development

services for the benefit of purchasers”) (emphasis added).

        Courts apply these same principles to hold that crypto assets similar to XRP are investment

contracts. Telegram, for example, found “[a]n implicit (though formally disclaimed) intention on the

part of Telegram to remain committed to the success of the TON Blockchain,” which the promoter

would do “as a matter of fact rather than legal obligation.” 448 F. Supp. 3d at 358. Telegram argued

that the third element of Howey could not be satisfied given that Telegram had disavowed future

contractual obligations, but the court rejected this argument, stating, “[d]isclaimers, if contrary to the

apparent economic reality of a transaction, may be considered by the Court but are not dispositive.”

Id. at 365 (citing SG Ltd., 265 F.3d at 54). Kik similarly held that “an ongoing contractual obligation

is a not a necessary requirement for a finding of a common enterprise.” 492 F. Supp. 3d at 178

(citing Joiner, Howey, and Tcherepnin).

                         (b)      Defendants’ Real Estate Cases Also Look Outside Written
                                  Contracts.

        Defendants cite three cases holding that sales of real estate which the purchaser occupied were

not sales of investment contracts. Beyond being readily distinguishable for that reason, these cases

undermine rather than support Defendants’ contention because each case looks to extra-contractual

representations to determine whether the promoter offered and sold an investment contract.

        De Luz Ranchos Inv., Ltd. v. Coldwell Banker & Co. noted that it was a “close question” whether

the seller of real estate had sold investment contracts based upon extra-contractual promises to

develop common facilities areas, but ultimately held that it had not, in part because the seller

“retained no interest in th[e] parcels” it sold. 608 F.2d 1297, 1301 (9th Cir. 1979). Here, Ripple held

“this giant pile of XRP.” Counter 56.1 ¶ 34; PX 457. Rodriguez v. Banco Ctr. Corp., see Def. Br. at 44,

50, 56 n.37, is equally unavailing. That case held there was no investment contract because a sale of


                                                    49
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 59 of 85



land was coupled only with “suggestions that the surrounding area would develop” but noted the

outcome would have been different had defendants in their extra-contractual representations

“promised, along with the land sales, to develop the community themselves.” 990 F.2d 7, 11 (1st Cir.

1992). That is precisely what Ripple did here. Finally, Happy Inv. Grp. v. Lakewood Props. Inc. also

examined extra-contractual representations and noted that because the promoter did not offer to

develop common areas in the land, and because as a matter of economic reality the purchaser had to

first build his own house before he could resell for profit, the entrepreneurial efforts of the

promoter were not the significant ones. 396 F. Supp. 175, 180-81 (N.D. Cal. 1975).

        Defendants’ extensive reliance on cases involving real estate, e.g., Def. Br. at 44, 49-50, 51

n.30, exposes the fundamental weakness of their case. As explained in Harman v. Harper, 914 F.2d

262 (9th Cir. 1990), upon which Defendants rely, see Def. Br. at 51 n.30, “one-on-one …

transactions in real estate, without more, generally do not satisfy the Howey criteria.” As Kik

explained, real estate has “inherent value,” whereas a crypto token conjured out of thin air “will

generate no profit absent an ecosystem that drives demand,” 492 F. Supp. 3d at 180, which is what

Ripple promised to (and did) architect. There is simply no valid comparison between (a) the sale of

unique properties with inherent value and utility to discrete groups of buyers, and (b) a tech

company’s capital raise of billions of dollars through the sale of fungible assets with no inherent

value to an unlimited number of public buyers.

                2.      The Existence of Market Forces Independent of Ripple Is Irrelevant.

        Defendants next contend that if profits come from “supply and demand,” then there is no

investment contract. Def. Br. at 50-51. This argument fares no better here than in the “common

enterprise” analysis. See supra § I.B. The focus is on reasonable expectations created by the promoter, not

on the nature of the “profits.” Cf. Scoville, 913 F.3d at 1222 (“all that Howey requires is a ‘reasonable

expectation of profits’” (citation omitted)).



                                                    50
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 60 of 85



        As noted previously, there is nothing remarkable about investors in securities making or

losing money based upon market forces outside the issuer’s control. Defendants thus attempt to

limit their argument by stating that it applies only when the “returns are driven mostly by market

forces” or when market forces “dictate” or “control profitability.” Def. Br. at 51-53. They then

assert that because Ripple’s activities purportedly accounted for over 50% of XRP returns until mid-

2018 but no more than 10% by the end of 2020, there can be no reasonable expectation of profits

from Ripple’s efforts. Id. at 52-53. But even if this were true, Defendants do not and cannot explain

why Ripple’s ability to generate over 50% of XRP price movements before mid-2018 is not enough.

        Once again, Defendants’ cited cases do not support their remarkable proposition. Def. Br. at

50-51 & n.30. Those cases distinguish between where investors are led to look to the promoter’s

efforts and where the investor is not led to expect any such efforts and instead must rely on her own

efforts or simply on the vagaries of the market. None of the cases support the patently absurd

notion that if the market “dictates” the price of an asset (a proposition applying to nearly all assets),

then it cannot be offered and sold as an investment contract.

        The principal case upon which Defendants rely, SEC v. Mutual Benefits Corp., held that life

insurance settlements were investment contracts. 408 F.3d 737, 741 (11th Cir. 2005). The question

was whether both pre- and post-purchase efforts could satisfy the “efforts of others prong,” with

the court holding that pre-purchase efforts also counted so long as there were still some promised

post-purchase efforts by the promoter. The court contrasted situations where an investor is led to

rely on a promoter’s promised continued efforts to instances where those efforts are over. Id. at 744,

n.5. Because the Mutual Benefits promoter still had to decide how to deploy funds after receiving

them, there was an expectation of profits from its efforts. Mutual Benefits does not suggest that the

existence of market forces affecting the price of an asset means Howey cannot be satisfied.




                                                   51
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 61 of 85



        The Second Circuit’s holding in Grenader, Def. Br. at 51, is also inapposite. Noting that “real

estate transactions are traditionally left to state supervision,” the court concluded that no investment

contract existed because “the purchasers … desired to personally occupy the apartments” and the

promoters made no representations leading the purchaser to expect “bonanza” or that the promoter

would use the proceeds from the sales to further develop an enterprise that was nearly “fifty years

old.” 537 F.2d at 619-20. The court’s decision did not turn on whether market forces determine the

price of the apartments at issue, but whether the investor reasonably could look to the seller to make

efforts to increase the value of those parcels. Defendants’ “driven mostly by market forces” test is

nowhere to be found in Grenader, either. 27

        Defendants then purport to carve out an exception to their “market forces” rule for

situations “in which the promoter backstops the market forces by committing to repurchase assets -

as a buyer of last resort – if the market price falls.” Def. Br. at 52 (citing Glen-Arden and Gary Plastic).

This attempt also fails. As a threshold matter, Glen-Arden and Gary Plastic are not “exceptions” to

non-existent rules. Moreover, Defendants were “buyers of last resort” with respect to XRP and

publicly held themselves out as such. SEC 56.1 ¶¶ 586, 784, 786. Defendants’ attempt to distinguish

those cases by claiming they involved a contractual “guarantee” to backstop the market is simply

wrong. Merrill Lynch’s commitment to buy back the CD was stated in its marketing brochure, Gary


27
         As the court explained in Bender, upon which Defendants rely, Def. Br. at 51 n.30, “real
estate transactions are not in and of themselves governed by the federal securities laws” because of
the inherent worth of a condominium. 632 F. Supp. at 501. Real estate cases are of little relevance to
this case, and they do not support inserting the “driven mostly by market forces” test into “efforts
of others.” The same is true of the two futures contract cases—SEC v. Belmont Reid & Co., Inc., 794
F.2d 1388 (9th Cir. 1986) and Noa, 638 F.2d at 77. Def. Br. at 51-52. Both stand for the proposition
that where the only relationship between the promoter and the buyer is one whereby the promoter
promises to deliver a tangible item at a future date, there is no “investment” in anyone’s efforts.
Neither holds that the existence of market forces affecting the price of an asset precludes finding an
investment contract. They simply focus on whether the promoter promised, undertook, or needed
to undertake significant efforts and found that they did not. Finally, Lehman Bros. v. Minmetals Int’l,
179 F. Supp. 2d 159, 163 (S.D.N.Y. 2001), which involved an application of state law to a simple FX
transaction, has no bearing here.


                                                     52
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 62 of 85



Plastic, 756 F.2d at 233. More generally, Gary Plastic holds that when an issuer sells an asset while

leading investors to rely on the “skill and financial stability” of the issuer, on the issuer’s “ongoing”

or “implicit” efforts (including to provide “liquidity and capital appreciation”), and on the issuer’s

“significant economic power” in the market, then an investment contract exists. 756 F.2d at 240-42.

        The arrangement Ripple marketed with respect to XRP and the efforts it undertook to lay

the “building blocks” and start the “flywheel” for the XRP market were far more extensive and all

engrossing than the steps Merrill Lynch could ever hope to take in Gary Plastic. Because Ripple had

the “giant pile of XRP,” there was “no other place where predictability and stability about supply

and long term health” for XRP markets could come from. Counter 56.1 ¶ 34; PX 457.

        In sum, Ripple’s “insistence in its brief[] that ‘market forces’ would drive the value of” XRP

“ignores the essential role of” Ripple “in establishing the market” and that Ripple “had a unique

incentive to increase demand for” XRP. Kik, 492 F. Supp. 3d at 180. It ignores that unlike the seller

of real estate, Ripple could significantly affect and control the supply of XRP. “These efforts by”

Ripple “were crucial” and XRP investors reasonably hoped to profit from them. Id.

                3.      Defendants’ Attempts to Undercut Their Extensive Promotional
                        Representations Are Unavailing.

        Confronted with their extensive public statements touting XRP, Defendants again argue that

written contracts are required to give meaning to these statements. Def. Br. at 54. That argument

fails here for the same reasons explained above. See supra §§ I.B.2(b), I.C.1; infra § II.C. Defendants’

remaining arguments attempting to downplay their plethora of public representations are unavailing.

        First, Defendants contend Ripple’s contracts disclaimed that Ripple had any obligations to

engage in efforts. Def. Br. at 55. Defendants argue the Court should ignore the avalanche of public

written and oral promises simply because they were not included among the boilerplate language in

Ripple’s contracts. The law plainly rejects this defense.




                                                    53
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 63 of 85



        It is true that, in considering the totality of representations made, “[d]isclaimers, if contrary

to the apparent economic reality of the transaction, may be considered by the Court but are not

dispositive.” Telegram, 448 F. Supp. 3d at 365. In this case, however, boilerplate integration clauses

cannot trump the economic reality, created through Defendants’ extensive marketing, that Ripple

was selling its own future efforts alongside XRP itself. See id. at 374-75; Kik, 492 F. Supp. 3d at 175

(describing integration clauses in certain sales agreements); see also Baroi, 914 F. Supp. 2d at 1197-98;

Timmreck v. Munn, 433 F. Supp. 396, 401 (N.D. Ill. 1977); SEC v. Battoo, 158 F. Supp. 3d 676, 696

(N.D. Ill. 2016). This is particularly so because, as Defendants themselves emphasize, XRP investors

in the public markets never saw any of these disclaimers. Defendants’ disclaimers argument is

likewise inconsistent with their repeated insistence that no contracts were at issue in the first place. 28

        Second, Defendants suggest that their promotional statements are too vague to lead investors

to reasonably expect profits. They do so both by returning to the “suggestions” in real estate cases

that property would appreciate based upon undetermined efforts, and by asserting that “[a]ll the

SEC has pointed to are statements showing that Ripple had its own interest in the price of XRP.”

Def. Br. at 55-56 & nn.35, 37. Defendants’ reliance on real estate cases once more fails. See supra

§§ II.B.4, II.C.1(b). And their other point, that the SEC has only shown statements of Ripple being

interested in XRP’s price, simply cannot be squared with the statements themselves. See, e.g., SEC

56.1 §§ C, D(i)-(iii), D(ix), E(ii), E(vii).

        Defendants cannot distinguish their own promotional statements from those in four Second

Circuit cases—Glen-Arden, Aqua-Sonic, Gary Plastic, and Leonard. Instead, they again argue their own


28
         Ripple’s disclaimers are unlike the disclaimers in Alunni v. Dev. Res. Group, LLC, which in the
very first sentence of the purchase contract stated “ORAL REPRESENTATIONS CANNOT BE
RELIED UPON,” and which involved no dependency at all upon the efforts of the promoter. 445
F. App’x 288, 292-93, 297-98 (11th Cir. 2011). Similarly, SEC v. Pac. W. Cap. Grp. Inc., 2015 WL
9694808, at *6 (C.D. Cal. June 16, 2015) ruled that there was no investment contract not merely due
to disclaimers, but because there were no efforts left for the promoter to do. Notably, both cases
looked beyond disclaimers to determine whether a reasonable expectation of profit existed.


                                                    54
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 64 of 85



statements cannot be compared to those cases, which involved contracts. Def. Br. at 56 n.36. As

explained above, a written agreement is not required, and in any event, Defendants again ignore that

their XRP sales were also pursuant to contracts.

        Third, Defendants contend the SEC has identified too many public statements, stretching into

August 2020, and that if those statements “were necessary to create a reasonable expectation of

profits, then any offers and sales” before then “could not have been investment contracts.” Def. Br.

at 57. But from the very beginning, Defendants promoted XRP as an investment contract. Examples

include the marketing brochures and tweets quoting Larsen representing that Ripple would keep

50% of XRP “to build team to contribute code, build apps, [and] promote #Ripple” and touting

increases in XRP’s price as “Ripplemania,” and with other public statements casting Ripple as the

“central authority” as to XRP, who was “legally obligated” to try to maximize the value of XRP and

who was committed to “develop[ing] client and server software for as long as necessary” because it

“believe[d] that broad adoption of Ripple as a payment platform would drive demand.” SEC 56.1

¶¶ 192-205, 456. That Defendants engaged in a cacophony of similar statements only underscores,

not undercuts, the gravity of their Section 5 violations.

        Finally, Defendants argue the SEC cannot show their statements created a reasonable

expectation of profit without showing that “any purchaser actually encountered any of the public

statements.” Def. Br. at 58. Defendants are wrong. Howey’s “inquiry is an objective one focusing on

the promises and offers made to investors; it is not a search for the precise motivation of each

individual participant. … [C]ourts conduct an objective inquiry into the character of the instrument

or transaction.” Telegram, 448 F. Supp. 3d at 371 (citing Warfield , 569 F.3d at, 1021); see also Aqua-

Sonic, 687 F.2d at 584 (“courts [applying Howey] are to examine the offering from an objective

perspective …”). Defendants’ attempt to add a reliance element also fails because the SEC, “unlike

private parties, need not show reliance in its enforcement actions.” Lorenzo, 139 S. Ct. at 1104.



                                                    55
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 65 of 85



        Salameh v. Tarsadia Hotel, upon which Defendants rely, found no investment contract because

investors signed rental management agreements containing the relevant representations 15 months

after they had already made the purchase at issue. 726 F.3d 1124, 1128 (9th Cir. 2013). Salameh stands

in stark contrast to this case. The evidence includes Ripple’s brochures, marketing materials, XRP

Market Reports, Whitepaper, and a fusillade of coordinated Tweets, blog posts, YouTube videos,

appearances on national television, social media posts, and many other statements. Defendants

cannot dispute (a) the statements’ contents, (b) that the statements were directed to the public, or (c)

that they made the statements simultaneous with offering and selling XRP. On this record,

Defendants’ reliance defense simply makes no sense.

        By contrast, accepting Defendants’ contention that only “direct sales pitches” allow for

“extra-contractual representations,” Def. Br. at 58, would permit “easy end-runs around” Section 5.

Wildes 25 F.4th at 1346. As the Eleventh Circuit reasoned in another recent crypto asset Section 5

case: “Technology has opened new avenues for both investment and solicitation. Sellers can now

reach a global audience through podcasts, social media posts, or, as here, online videos and web

links … A seller cannot dodge liability through his choice of communications—especially when the

Act covers ‘any means’ of ‘communication.’” Id. (citing 15 U.S.C. § 77e(a)(1)).

III.    THE INDIVIDUAL DEFENDANTS’ OFFERS AND SALES OF XRP WERE ALL
        DOMESTIC, UNREGISTERED OFFERS AND SALES.

        The Individual Defendants (but not Ripple) seek summary judgment as to the subset of their

XRP “sales” that matched with unknown investors who interacted with online unregistered crypto

platforms. The factual and legal basis for this argument is their expert’s opinion (which should be

excluded, D.E. 536) that certain of these unregistered platform have “indicia” of being “foreign,”

and that this single, disputed fact means that “sales” on such platforms are always beyond the reach

of the U.S. securities laws without regard to any other fact. But they ignore that some of these

supposedly “foreign” platforms were registered with the U.S. Department of the Treasury and


                                                  56
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 66 of 85



accepted U.S. customers, and that the Individual Defendants took no steps to ensure their XRP

would not land in the hands of U.S. investors. Relying on the same flawed expert opinion and

ignoring the Court’s prior ruling, they also insist they did not engage in domestic offers of XRP,

which is an actionable violation of Section 5 irrespective of whether any sales eventually occurred.

        These arguments are without merit, and it is the SEC, not the Individual Defendants, who is

entitled to summary judgment. The undisputed evidence shows they made their “offers” from the

United States and those offers are therefore domestic. The undisputed evidence also shows their

sales on crypto asset platforms were domestic under this Court’s prior ruling and Morrison v. Nat’l

Australia Bank, 561 U.S. 247 (2010) because the Individual Defendants incurred irrevocable liability

to deliver their XRP when they entered into liquidation agreements within the United States, and

also passed title to the XRP here. And, finally, while those grounds entitle the SEC to summary

judgment, the SEC respectfully submits that, in the alternative, the Individual Defendants’ offers

and sales were domestic under the non-transactional test for domesticity the SEC believes governs

Section 5. Cf. SEC v. Gruss, 859 F. Supp. 2d 653 (S.D.N.Y. 2012) (finding Absolute Activist

transactional test inapplicable to claims under the Investment Advisers Act, and, in the alternative

the transactional test was met). 29

        A.      The Individual Defendants Made Domestic Offers of XRP.

        The term “offer” under the Securities Act includes “every attempt or offer to dispose of, or

solicitation of an offer to buy, a security or interest in a security, for value.” 15 U.S.C. § 77b(a)(3).



29       The SEC previously argued that the transactional test does not apply, and in its earlier Order
ruling on Defendants’ motion to dismiss, the Court found this unavailing. On Defendants’ motion
for summary judgment and with the benefit of the more fully developed evidentiary record now
available, the SEC respectfully requests that the Court consider, in the alternative, the SEC’s
arguments concerning the appropriate analysis of domesticity in Section 5 cases under Europe and
Overseas Commodity Traders, S.A. v. Banque Paribas London, 147 F.3d 118, 125 (2d Cir. 1998) abrogated in
part on other grounds by Morrison, 561 U.S. 247 (“Banque Paribas”), and further respectfully seeks to
preserve this argument for all purposes.


                                                     57
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 67 of 85



        “[F]or an ‘offer’ to be domestic, ‘a person or entity must (1) ‘attempt or offer[,]’ in the

United States, ‘to dispose of’ securities. . . or (2) ‘solicit[,]’ in the United States, ‘an offer to buy’

securities. . .’” D.E. 441 at 26 (quoting SEC v. Goldman Sachs, 790 F. Supp. 2d 147, 165 (S.D.N.Y.

2011)). “When assessing offers…the focus ‘is on the person or entity [offering] securities.’” Id. at 27

(quoting Goldman Sachs, 790 F. Supp. 2d at 165). Thus, “it is the location of the offerors”—here

Larsen and Garlinghouse—“that is relevant.” Id. “[A]n order to a broker to sell securities is certainly

‘an attempt to dispose’ of them.” United States v. Naftalin, 441 U.S. 768, 773 (1979); see also Cavanagh,

155 F.3d at 135 (the term ‘offer’ “extends beyond the common law contract concept”).

        At the pleading stage, allegations the Individual Defendants were in the United States when

they made their offers sufficed. D.E. 441 at 28. The undisputed facts have now proven they were

indeed in the U.S. during the relevant period: the Individual Defendants admit they were in the U.S.

for the vast majority of the time they offered and sold XRP—94% of the time for Larsen (SEC 56.1

¶ 1111; PX 393 at 7-8; PX 2 at 157) and 86% for Garlinghouse (SEC 56.1 ¶ 1159; PX 454 at 6-9). 30

        The undisputed facts also show the Individual Defendants “attempted to dispose” of XRP

through GSR from within the United States. See Counter 56.1 § F. Larsen, while in the U.S., entered

into XRP liquidation agreements with GSR in 2017 and 2020. Counter 56.1 ¶ 302; PX 612; PX 614;

PX 393 at 7-8. Garlinghouse, also while in the U.S., entered into a similar agreement with GSR in


30
         The Individual Defendants treat the term “offer” as limited to their attempts to dispose of
XRP through GSR while in the U.S. While those attempts were domestic, and alone warrant
summary judgment for the Commission, “offer” is defined broadly, and the undisputed facts here
also show the Individual Defendants were in the U.S. when they offered XRP through press
releases, media interviews, social media posts, and other public statements touting XRP to investors.
See Wildes, 25 F.4th at 1344-46; Chris-Craft Indus., Inc. v. Bangor Punta Corp., 426 F.2d 569, 574 (2d Cir.
1970) (“announc[ing] that securities will be sold at some date in the future and” including “an
attractive description of these securities and of the issuer” constitutes an “offer.”); SEC v. Arvida
Corp., 169 F. Supp. 211, 215 (S.D.N.Y. 1958) (“the furnishing to the press by representatives of the
issuer and the underwriters of written and oral communications concerning the forthcoming public
offering… constituted an ‘offer to sell’); SEC v. Blockvest, LLC, 2019 WL 625163, *9 (S.D. Cal. 2019)
(“the contents of Defendants’ website, the Whitepaper and social media posts concerning the ICO
of the BLV tokens to the public at large constitute an ‘offer’ of ‘securities’”).


                                                      58
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 68 of 85



2017. Counter 56.1 ¶ 303; PX 615; PX 454 at 6-9. Per these agreements, the Individual Defendants

instructed GSR “to liquidate XRP and extract maximum value in either bitcoins or US Dollars.”

Counter 56.1 ¶ 304; PX 612, PX 614, PX 615, at Preamble. The agreements further provide: “GSR

will sell [the XRP]…in a series of liquidation transactions” and the Individual Defendants will

“direct[]” GSR where to deposit sales proceeds. Counter 56.1 ¶ 305; PX 612, PX 614, PX 615 § 2.5.

        Defendants suggest these agreements still required a “specific order to sell” (Def. Br. at 73),

but they did not. Instead, the agreements clearly state GSR “will sell” the XRP after it has “custody

and control” of the XRP transmitted to GSR. Counter 56.1 ¶ 305; PX 612, PX 614, PX 615 §§ 2.3,

2.5. Thus, consistent with the agreements, GSR used a trading algorithm that ran 24 hours a day and

continuously sold XRP on unregistered crypto platforms, without requiring any additional

commands or directives. Counter 56.1 ¶ 355; PX 26 at 311-12. From time to time, the Individual

Defendants directed GSR from within the U.S. to pause or restart XRP sales. 31 Counter 56.1 ¶ 332;

PX 729; PX 731. Finally, pursuant to these contracts, the Individual Defendants transferred their

XRP to GSR from accounts at Bitstamp U.S.A., a FinCEN-registered entity, or from “cold wallets”

(i.e., addresses on the ledger not connected to an institution that they directly controlled). Counter

56.1 ¶¶ 314, 377; PX 202 at 27-31; SEC 56.1 ¶¶ 1112, 1162; PX 81 at 180; PX 394; PX 732.

        There can be no question that the Individual Defendants’ engagement of GSR, their transfer

of XRP to GSR, and their command to GSR pursuant to “Liquidity Extraction Agreements” to sell

their XRP—all from within the United States—were attempts to dispose of XRP. D.E. 441 at 28.

All, accordingly, are domestic offers.

        Unable to dispute these facts, Defendants recast their arguments by conflating offers with

sales. They cite to cases applying Morrison to sales of securities, which found the location of the seller

31
         Garlinghouse used a disappearing messaging application to communicate with GSR, and
there is no way to know whether or how many of Garlinghouse’s instructions to GSR from the
United States were destroyed and therefore not produced. SEC 56.1 ¶¶ 1170-74, 1179-80.


                                                    59
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 69 of 85



or purchaser was not necessarily dispositive to Morrison’s transactional domesticity test (discussed

further below). Def. Br. at 73. But this Court already correctly held that Morrison’s test does not

govern offers. D.E. 441 at 25. Likewise, any contention that no “offer” exists until a trade order has

been published on a crypto asset trading platform, Def. Br. at 69, is wrong. An offer includes

attempts to dispose of their XRP both by offering and transferring it to GSR, and by instructing

GSR to offer to sell their XRP, from within the U.S. The ultimate publication of an order on a

platform is irrelevant to whether and when offers in connection with those trade orders were made.

        Moreover, Defendants’ “facts” that the platforms are “foreign” are just the disputed

opinions of their expert, Yesha Yadav (which should be excluded, D.E. 563), who created four

“indicia” of foreignness out of whole cloth and applied them inconsistently. See infra § III.D. 32

        Nor is there any merit to the argument that Goldman Sachs is applicable only to direct

negotiations between the buyer and the seller. Goldman Sachs did not examine or rely on the nature of

the transaction, but on the broad definition of “offer,” 790 F. Supp. 2d at 165, which does not


32
         Defendants mischaracterize how the crypto asset trading platforms operated, particularly
when they argue that offers are “viewable … only on the exchange.” Def. Br. at 61-62. Unlike
registered national securities exchanges, which typically permit only their members—i.e., broker
dealers registered with the exchanges—to transact on their platforms, crypto asset trading platforms
offer their services to retail customers as well. Counter 56.1 ¶¶ 370-71; 15 U.S.C. § 78f(c); see also
FINANCIAL STABILITY OVERSIGHT COUNCIL, “Report on Digital Asset Financial Stability Risks and
Regulation,” (Oct. 3, 2022) at 118, available at https://home.treasury.gov/system/files/261/FSOC-
Digital-Assets-Report-2022.pdf; see generally id. at 4-7 (noting risks from vertical integration of
services by crypto trading platforms). U.S. customers access the platforms by interacting with offers
of XRP accessed through their computers in the U.S. These platforms are therefore not the
“foreign securities exchanges” that were of concern to the Supreme Court in Morrison. See U.S. Dep’t
of Treasury, Crypto-Assets: Implications for Consumers, Investors, and Businesses (Sept. 6, 2022) at 7-9
(platforms provide services to retail customers and “[a]ny activity with U.S. residents involving
crypto-assets that are derivatives or securities falls under the jurisdiction of the CFTC or SEC”)
available at https://home.treasury.gov/system/files/136/CryptoAsset_EO; id. ¶¶ 373-75; PX 636 at
18 (“In many instances, these platforms are operating outside the jurisdiction’s regulatory perimeter,
or are not in compliance with applicable regulatory requirements,” and have essentially formed “a
shadow crypto financial system”); PX 637 at 47 (according to the IMF, “many countries do not have
conduct or prudential regulations in place that encompass the activities of crypto asset service
providers”). see also Counter 56.1 ¶¶ 365-69, 372 (discussing requirements and listing of “national
securities exchanges” that are registered with the SEC under the Exchange Act).


                                                   60
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 70 of 85



distinguish face-to-face “offers” from general solicitations. As the Eleventh Circuit recently held in

defining the term “offer” in a crypto case, to interpret the Securities Act to have a shorter reach when

the general public is solicited to buy securities would permit “easy end-runs around” the Securities

Act given that “[t]echnology has opened new avenues for both investment and solicitation” and that

“[s]ellers can now reach a global audience through podcasts, social media posts, or, as here, online

videos and web links.” Wildes, 25 F.4th at 1346.

        The hypothetical about a foreign citizen “vacationing in New York, who placed an order on

the Tokyo Stock Exchange to sell stock in a company registered on that exchange,” Def. Br. at 71, is

a red herring. Section 5 applies to issuers and their affiliates, underwriters, and dealers engaging in

public offerings of securities, and not to retail investors selling shares in the secondary market on

stock exchanges. 15 U.S.C. § 77d. Here, the Individual Defendants are the U.S. citizen-affiliates of a

U.S.-domiciled company, who themselves raised over $600 million and who transmitted from the

U.S. their offers to sell the issuer’s securities utilizing trading platforms that broadcast those offers

through the internet to U.S. investors, which would land them in the hands of U.S. investors.

        B.      The Individual Defendants Committed Themselves to Their Sales of XRP,
                and to Deliver XRP After a Sale, in the United States.

        Morrison does not save Individual Defendants’ conduct from liability under Section 5 for the

additional reason that their “sales” of XRP, under the undisputed facts, were domestic. Morrison held

that sales of securities “registered on a national securities exchange” and “domestic transactions in

other securities” are within the scope of the Exchange Act. 561 U.S. at 266-67. The first part of

Morrison is not implicated here—the Individual Defendants did not sell any XRP on any country’s

registered securities exchange. As for the second, part, while “Morrison itself did not clearly state

when purchases or sales are ‘made’ in the United States under the transactional domesticity test, the

Second Circuit has since articulated a series of standards for determining where those purchases and

sales occur.” D.E. 441 at 22.


                                                    61
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 71 of 85



        “To sufficiently allege a domestic securities transaction in securities not listed on a domestic

exchange…a plaintiff must allege facts suggesting that irrevocable liability was incurred or title was

transferred within the United States.” Absolute Activist Value Master Fund Ltd. v. Ficeto, 677 F.3d 60, 68

(2d Cir. 2012). “[U]nder Absolute Activist the SEC need only show that either of these events

occurred in the United States in order to establish domesticity.” SEC v. Ahmed, 308 F. Supp. 3d 628,

665 (D. Conn. 2018). Relevant to this analysis are facts “[1] concerning the formation of the

contracts, [2] the placement of purchase orders, [3] the passing of title, or [4] the exchange of

money.” D.E. 441 at 23 (citing Absolute Activist at 70). Courts analyze the provisions of relevant

agreements to determine where these acts took place. E.g., Ahmed, 308 F. Supp. 3d at 669-73

(analyzing written contracts and concluding that, where “at least one party … was acting from the

United States” at each of these points, “all transactions are domestic”). The Second Circuit has

clarified that “territoriality under Morrison concerns where, physically, the purchaser or seller

committed him or herself.” United States v. Vilar, 729 F.3d 62, 77-78 n.11 (2d Cir. 2013).

        The undisputable facts show that the Individual Defendants committed themselves to sell

their XRP from the United States. Counter 56.1 § F. While any one of the Absolute Activist factors

occurring domestically can suffice to make this showing, here all four occurred in the United States.

                1.      The Individual Defendants Entered into Sale Agreements with GSR
                        from the United States.

        As to the “formation of contracts” factor, the Individual Defendants were in the United

States when they signed their contracts with GSR. See supra at § III.A.

        The liquidation contracts gave GSR “custody and control” of the Individual Defendants’

XRP from the moment they transferred their XRP to GSR. Counter 56.1 ¶ 305; PX 612, PX 614,

PX 615 § 2.3. And “GSR’s right to payment vest[ed]” as soon as GSR took custody of the XRP.

Counter 56.1 ¶ 307; PX 612, PX 614, PX 615 § 2.6. Once GSR took custody of the XRP, GSR

employed a trading algorithm that typically ran nonstop and continuously generated offers to sell on


                                                    62
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 72 of 85



behalf of the Individual Defendants. Counter 56.1 ¶ 355; PX 26 at 311-12. There is no evidence that

GSR ever returned their XRP. See Counter 56.1 ¶ 311; PX 612, PX 614, PX 615 § 2.1.

        The contracts also made clear the Individual Defendants had no legal relationship with the

crypto platforms upon which GSR distributed their XRP. All the rights at that point belonged to

GSR, which had no “agency”-type powers to bind the Individual Defendants with respect to the

platforms. The agreement thus provided that



                        Counter 56.1 ¶ 313; PX 612 § 11.2; PX 614, PX 615 § 12.2. Finally, the

contracts provided that,



                               . Counter 56.1 ¶ 312; PX 612 § 10.1; PX, PX 615 § 11.1.

        These provisions together make clear that the agreements with GSR for the “disposition” of

XRP, or even just a possessory “interest in” XRP, in exchange for the promise of payment,

constituted a “sale” contract under the express terms of the Securities Act. 15 U.S.C. § 77b(a)(3).

                2.       The Individual Defendants Committed Themselves to XRP Sales
                         Orders While They Were in the United States.

        The Individual Defendants were also in the United States when they carried out the

individual transfers of XRP to GSR contemplated by those sale contracts, which independently

establishes that they incurred irrevocable liability to sell while in the United States. 33




33
        In addition, the Individual Defendants were in the U.S. the vast majority of time when their
orders were matched with buyers on these platforms. While this does not “on its own” establish
domesticity, that the Individual Defendants typically “functioned out of United States offices …
lends some support for the SEC’s claims that the transactions themselves also occurred
domestically.” Ahmed, 308 F. Supp. 3d at 665; see also id. at 669 (contract was formed in the U.S.
where U.S.-based entity “did not have a practice of traveling outside the US to form contracts for
the purchase or sale of investments”).


                                                     63
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 73 of 85



        Pursuant to these contracts, Larsen transferred 1.5 billion XRP ($495 million) and

Garlinghouse transferred 167 million ($105 million) XRP, from accounts at U.S.-based crypto

platform Bitstamp U.S.A. or cold wallets, to GSR. Counter 56.1 ¶¶ 314, 377; PX 202 at 27-31; SEC

56.1 ¶¶ 1112, 1162; PX 81 at 180; PX 394; PX 732. Each of these transactions was reflected on the

XRP Ledger, which means each transaction had to be independently and simultaneously validated by

each of the U.S. nodes of the ledger, because of how the ledger is programmed. Counter 56.1 ¶ 315;

PX 202 at App’x E. The later transactions, between the GSR account at the particular platform and

the ultimate investor, were not on the ledger—those were simply book entries in the platforms’

records. See Def. Br. at 61; see also infra § IV.B.4 (explaining electronic mechanics of XRP Ledger).

        Each of these transactions between the Individual Defendants and GSR, while the

Individual Defendants were in the U.S. and through U.S. means of execution, constituted domestic

dispositions of XRP for value under Section 5.

                3.       Title Passed at the Time the Individual Defendants, from the United
                         States, Transferred Their XRP from their U.S. Accounts to GSR’s.

        Those U.S. transactions also coincided with transfers of title to XRP, establishing another

independent basis for their domesticity under Absolute Activist. See 677 F.3d at 68 (irrevocable liability

is not “the only way to locate a securities transaction,” and “a sale of securities can be understood to

take place at the location in which title is transferred”).

        To transfer their XRP to GSR, the Individual Defendants used their private cryptographic

keys to digitally sign the transaction to transfer the XRP from the “address” they controlled to the

“address” supplied by GSR. Counter 56.1 ¶¶ 317, 361; PX 12 at 12. (A private key is a password

known only to the person who controls a crypto asset which is tied to the address they control. Id.)

        At that moment, GSR had “title” to this XRP. Title simply means “legal evidence of a

person’s ownership rights in property.” Ahmed, 308 F. Supp. 3d at 666 (citing BLACK’S LAW

DICTIONARY (10th ed. 2014)). In blockchain, “[a]s a fundamental principle, whoever controls the


                                                     64
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 74 of 85



private keys corresponding to a given address, controls [the crypto asset] pertaining to that address.”

PX 12 at 12. As a recent decision explained with respect to another crypto asset:

        Transferring or otherwise using bitcoin requires an address, a public encryption key,
        and a private encryption key. Units of bitcoin are stored by reference to that address.
        The address, similar to a bank account number...is a long string of letters and
        numbers. Every address is associated with a public key. Every public key is derived
        from a private key. Importantly, private keys are secret, like passwords… [T]he
        sender must sign the transaction using a digital signature generated using the sender’s
        private key….After the transaction is verified, the bitcoin being sent becomes
        associated with the recipient address and its attendant private and public keys.

United States v. Harmon, 474 F. Supp. 3d 76, 81 (D.D.C. 2020) (internal quotation marks and citations

omitted). Importantly, “[o]wnership of bitcoin is thus based on a user’s possession or knowledge of

the private key associated with a public key and address.” Id. at 82; see also Counter 56.1 ¶ 323; PX

638 at 138 (same). The innovation of blockchain created a world where possession of the key is the

power to transfer without recourse and without the need for trusted intermediaries.

        Thus, once the Individual Defendants transferred the XRP from their address to GSR’s

address—which GSR controlled—the XRP was owned by GSR and a “sale” had occurred for

purposes of the Securities Act. Defendants have acknowledged as much in contracts Ripple had with

GSR and other market makers. See Def. 56.1 ¶ 98 (referencing contracts “under which Ripple

transfers possessory interests in units of XRP to the counterparty and the counterparty promises to sell

those units of XRP to various third parties” (emphasis added)). Indeed, Larsen’s first agreement

with GSR explicitly stated that title passed in this way. Counter 56.1 ¶ 299; PX 610 § 2.7(b).

        This is in line with the Court’s finding that “irrevocable liability may attach when digital

assets enter and leave” the Individual Defendants’ accounts. D.E. 441 at 27; see also SEC v. Revelation

Cap. Mgmt., Ltd., 246 F. Supp. 3d 947, 954 (S.D.N.Y. 2017) (analyzing, under Morrison, the moment a

party bound itself to a sale by looking at relevant definition of “sale” in the Securities Act, and

noting that a “sale” occurs when the party obligates itself to perform “even if the formal

performance of their agreement is to be after a lapse of time” (citation omitted)).


                                                   65
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 75 of 85



                 4.      Money Was Exchanged in the United States.

        Once the sales were finalized, GSR deposited the sales proceeds in U.S. dollars into the

Individual Defendants’ U.S.-based crypto trading platform accounts. The Individual Defendants

then transferred those funds into their U.S.-based bank accounts. SEC 56.1 ¶¶ 1113, 1162; PX 394.

                                                    ***

        For these reasons, the Individual Defendants committed themselves to “deliver a security,”

Absolute Activist, 677 F.3d at 68, when they signed the GSR contracts to sell (from the United States),

and they actually transmitted the security for sale when they transferred their XRP to GSR for sale

(also from the United States). The answer to “where, physically, the…seller committed him or

herself,” Vilar, 729 F.3d at 77 n.11, is clear: it was in the United States. 34

        Ignoring all of these factors and refusing to engage with the terms of their contracts or with

any of Absolute Activist’s factors, Defendants argue that the only relevant factor is the “location” of the

crypto asset trading platform. But even assuming that the platforms are “foreign,” this is not

dispositive of the domesticity analysis. While courts have looked to the location of a platform as one

relevant factor, there is no support for the position that this one factor ends the analysis.

        To the contrary, the Second Circuit recognizes “the reasoning of Morrison does not preclude

the application of [the relevant statute] to trades made on a foreign exchange when irrevocable



34
         Of course, GSR still had to perform certain acts to sell the XRP, but the Individual
Defendants completed their obligations at the time they transferred the XRP to GSR. See Giunta v.
Dingman, 893 F.3d 73, 81 (2d Cir. 2018) (“irrevocable liability may be incurred [in the U.S.] despite
the existence of conditions necessary to closing the transaction abroad”); Absolute Activist, 677 F.3d
at 68 (what matters is when “the parties obligated themselves to perform what they had agreed to
perform even if the formal performance of their agreement is to be after a lapse of time”).
Moreover, the ultimate purchasers of the Individual Defendants’ XRP became bound later—when
GSR subsequently traded on the platforms and those purchases took the XRP. But this does not
change that the Individual Defendants had committed themselves to sell earlier—at the point when
they signed the contracts and also when they transferred the XRP to GSR for sale on the crypto
asset trading platforms. “In the modern era, securities transactions are not completed at one time
and in one location.” Ahmed, 308 F. Supp. 3d at 660 n.26; see also id. at 669.


                                                      66
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 76 of 85



liability is incurred in the United States.” Myun-Uk Choi v. Tower Rsch. Cap. LLC, 890 F.3d 60, 67 (2d

Cir. 2018). If Defendants were correct that any sale of a security on a foreign (or foreign-owned)

trading platform is necessarily foreign under Morrison, it would be impossible to have the situation

contemplated in Myun-Uk where irrevocable liability is incurred in the U.S. for a trade on a foreign

exchange, and the cases holding that trades in securities listed on domestic exchanges were not

necessarily domestic would also be wrong. E.g., City of Pontiac Policemen’s & Firemen’s Ret. Sys. v. UBS

AG, 752 F.3d 173, 181 n.33 (2d Cir. 2014) (“[W]e have never held that the placement of a purchase

order, without more, is sufficient to incur irrevocable liability, particularly in the context of transactions in

foreign securities on a foreign exchange.” (emphasis added)); In re Petrobas Secs., 862 F.3d 250, 262 (2d Cir.

2017) (quoting City of Pontiac holding that listing on an exchange does not end the domesticity

inquiry if the transaction “did not occur” on the exchange). 35 Defendants’ test, which reduces the

irrevocable liability analysis to a single factor, should be rejected.

         Defendants cite three cases in this district that applied Morrison to crypto asset transactions

(Def. Br. at 66-67), but do not actually dive into their facts because none supports the theory that

the supposed foreign “location” of the platform is the sole relevant, let alone dispositive, factor. In

Anderson v. Binance the only domesticity allegation was that the buyer was in the U.S. and that title

passed over U.S. servers. See 2022 WL 976824, at *4 (S.D.N.Y. Mar. 31, 2022) appeal pending No. 22-

972 (2d Cir.). The decision does not treat the “location” of Binance as dispositive of a transactional

test. Nor did the Anderson plaintiffs enter into contracts of sale like the Individual Defendants did.

Holsworth v. BProtocol Found. is even less helpful, as it involved Israeli citizens buying crypto assets



35
        In the same vein, a transaction is “domestic when the two sides of the transaction are
‘matched’—thus forming a binding contract—on an electronic exchange system within the United
States.” Banco Safra S.A. v. Samarco Mineracao S.A., 849 F. App’x 289, 293 n.2 (2d Cir. 2021).
Defendants are wrong, however, that the reverse is true by “natural extension.” Def. Br. at 66. While
evidence of a binding commitment in the United States certainly does end the Morrison inquiry,
evidence of a binding commitment outside the United States does not.


                                                         67
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 77 of 85



from a Swiss company, and the court dismissed the case on forum non conveniens grounds with only a

passing reference to Morrison and no analysis of the platform’s location. 2021 WL 706549, at *3

(S.D.N.Y. Feb. 22, 2021).

        Williams v. Block.One, No. 20 Civ. 2809, D.E. 146 (S.D.N.Y. Aug. 15, 2022), is the most

unhelpful to the Individual Defendants. There, Judge Kaplan relied not on the location of the crypto

asset trading platform, but instead held that the domesticity of the transaction would be determined

by which node in the blockchain had first confirmed the transaction at issue. If the node was in the

United States, the transaction would be domestic. Id. at 16-17. This holding, however, relied on the

manner in which the Ethereum blockchain validated transactions at the time—using a “first to the

flag” mechanism that rewarded the first node to solve a complex computational problem and

making that node the one to validate the transaction. Id. As Defendants take pains to point out,

however, this is not how the XRP Ledger operates. As David Schwartz, who programmed it,

explained under oath, a transaction on the XRP Ledger does not become “validated” for a node

until 80% or more of the nodes in that node’s particular “trusted node” list agree to the transaction.

Counter 56.1 ¶ 35; SEC 56.1 ¶¶ 629-30; PX 6 at 61; PX 682; Def. Br. at 4-5 (contrasting consensus

mechanism for XRP and Bitcoin blockchains). In other words, in the XRP blockchain, all the nodes

must validate a transaction for their own purposes by listening to the other nodes, including the

many existing in the United States throughout the relevant period. Counter 56.1 ¶¶ 319-22, 324; PX

12; PX 6 at 61. If the Williams approach controls, all the Individual Defendants’ sales were validated

in nodes that were in the U.S. and are therefore domestic transactions.

        C.      The Individual Defendants’ XRP Distributions Were In Furtherance of Their
                Creation and Fostering of a Domestic Market for XRP.

        In its order denying the Individual Defendants’ motions to dismiss, this Court noted “the

SEC has provided no convincing reason why the transactional domesticity test for sales under

Section 10(b) should not apply to sales under Section 5.” D.E. 441 at 24-25. The SEC respectfully


                                                  68
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 78 of 85



submits, however, that the transactional domesticity test used in private actions under Section 10(b)

is not the test to be applied in this government enforcement action, as set forth in its original

briefing, and as explained below. D.E. 183 at 36-59. In light of the undisputed facts now before the

Court at summary judgment, the SEC respectfully provides this argument as an alternative ground

for rejecting the Individual Defendants’ arguments that their XRP sales were not domestic.

                1.       Offers and Sales under Section 5 Are Domestic When a Defendant
                         Takes Steps to Create a U.S. Market for Securities.

        Section 5 applies to “any offer or sale made by U.S. ‘means or instruments of transportation

or communication in interstate commerce or of the mails’—the so-called ‘jurisdictional means’.”

Edward Greene, U.S. REGULATION OF THE INT’L SECURITIES AND DERIVATIVES MARKETS § 8.01

(12th ed. 2017) (“Greene”) (“a public offering outside the United States by a U.S. issuer may be

subject to the registration requirements of the Securities Act since jurisdictional means would almost

certainly be used”); see also, e.g., United States v. Greenberg, 30 F.R.D. 164, 168 (S.D.N.Y. 1962)

(Sections 5(a)(1) and 5(a)(2) “specifically and unambiguously prohibit the use of the mails to sell or

to transport a security which has not been registered.”).

        Section 5(a)(1) prohibits the use of interstate commerce “to sell [a] security through the use

or medium of any prospectus or otherwise” without registration. 15 U.S.C. § 77e(a)(1). Section

5(a)(1) “is violated when…the mails are used to transmit an offer or other sales literature, to

transport the securities after sale, to remit the proceeds to the seller, to send confirmation slips to

the buyer, and perhaps even when used in more tangential ways.” United States v. Wolfson, 405 F.2d

779, 784 (2d Cir. 1968) (internal quotation marks and citation omitted). Section 5(a)(2) makes it

unlawful to “to carry or cause to be carried through” interstate commerce “any such security for the

purpose of sale or for delivery after sale.” 15 U.S.C. § 77e(a)(2). And Section 5(c) proscribes using

“means or instruments of transportation or communication in interstate commerce” to make

unregistered offers “through the use or medium of any prospectus or otherwise.”


                                                     69
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 79 of 85



        While “the U.S. courts have generally applied the concept of jurisdictional means broadly,”

Greene § 8.01, the SEC has, by rule, interpreted the territorial reach of Section 5. Rule 901 of

Regulation S defines offers and sales under Section 5 “to include offers and sales that occur within

the United States” and “not to include offers and sales that occur outside the United States.” 17

C.F.R. § 230.901. Regulation S provides safe harbors that give a means to engage in foreign offerings

without incurring the obligation to register those offerings, but Rule 901 establishes the default

territoriality rule under Section 5. See Europe and Overseas Commodity Traders, S.A. v. Banque Paribas

London, 147 F.3d 118, 125 (2d Cir. 1998) abrogated in part on other grounds by Morrison, 561 U.S. 247 (“A

transaction not within either of the safe harbors may still be outside of the United States within the

meaning of 17 C.F.R. § 230.901”); see also Stackhouse v. Toyota Motor Co., 2010 WL 3377409, at *2

(C.D. Cal. 2010) (noting Regulation S “may be relevant to discerning what the Supreme Court meant

by ‘domestic transactions’” in Morrison).

        In Banque Paribas, the Second Circuit provided the standard under which territoriality should

be analyzed under this statutory and regulatory rubric: “the registration provisions should apply to

those offers of unregistered securities that tend to have the effect of creating a market for

unregistered securities in the United States” and excludes that which is “not such as to have the

effect of creating a market for those securities in the United States.” Id. at 126.

                2.       The Banque Paribas Standard Should Be Applied to Determine
                         Domesticity Under Section 5.

        To determine what constitutes “domestic” violations under Morrison, a court “must look to a

statute’s ‘focus,’” and the “focus of a statute is ‘the object of its solicitude,’ which can include the

conduct it ‘seeks to regulate,’ as well as the parties and interests it ‘seeks to protect’ or vindicate.” In

re Picard, 917 F.3d 85, 96 (2d Cir. 2019) (quoting WesternGeco LLC v. ION Geophysical Corp., 138 S. Ct.

2129, 2137 (2018)); see also Myun-Uk, 890 F.3d at 67 (the Second Circuit “heed[s] Morrison’s mandate

that an extraterritorial analysis assess ‘the particular statutory provision’ at issue”) (citation omitted).


                                                     70
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 80 of 85



        The domesticity test of Morrison, as applied in Absolute Activist, is rooted in the “[t]he primacy

of the domestic exchange” and in the “focus of the [Exchange] Act,” which is to regulate national

securities exchanges and domestic securities purchases. Morrison, 561 U.S. at 267-68. The SEC and

Defendants agree that Morrison is premised on the notion that the Exchange Act was not “intended to

‘regulat[e] foreign securities exchanges.’” Def. Br. at 60 (quoting Morrison, 561 U.S. at 267).

        In contrast to Section 10(b) of the Exchange Act, Section 5 is instead meant “to assure full

and fair disclosure in connection with the public distribution of securities.” Banque Paribas, 147 F.3d

at 126 (citations omitted). As the Second Circuit elaborated in Banque Paribas:

        [T]he registration provisions [of the Securities Act] are designed to prevent the offer
        of securities in the United States securities market without accompanying
        standardized disclosures to aid investors, a course of conduct. This conduct, in turn,
        has the effect of creating interest in and demand for unregistered securities. To avoid
        this result, in keeping with Congress’s purpose, the registration provisions should
        apply to those offers of unregistered securities that tend to have the effect of creating a
        market for unregistered securities in the United States.

Id. (emphasis added). Section 5 thus seeks to regulate not the execution of purchase and sales

transactions, but rather steps that would create a market for unregistered securities domestically.

And “the parties and interests it ‘seeks to protect’ or vindicate” are investors in the United States

market entitled to the information required by registration—“the heart of the [Securities] Act.” Pinter

v. Dahl, 486 U.S. 622, 638 (1988).

        Accordingly, the text of the two statutes differs substantially. Section 10(b) includes language

focusing on purchases and sales on “national securities exchanges,” and related Exchange Act

provisions—key factors in Morrison—speak of transactions. See Morrison, 561 U.S. 267-68; 15 U.S.C.

§ 78j(b). Section 5 includes neither indication of a transactional focus nor a reference to exchanges,

but focuses on the means by which securities are offered, sold, transported, and delivered.

        Because the Securities Act and Exchange Act have different subjects of focus, the

transactional test that Morrison found appropriate for Section 10(b) is not appropriate for Section 5.



                                                    71
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 81 of 85



Indeed, the transactional test does not even govern in SEC actions under Section 10(b). In 2010,

Congress overrode Morrison and restored the conducts-and-effects test for extraterritorial application

in government enforcement actions only, in Dodd-Frank Section 929P(b). See Scoville, 913 F.3d at 1218

(“Congress undoubtedly intended that the substantive antifraud provisions should apply

extraterritorially” pursuant to these revisions.); see also Liu Meng-Lin v. Siemens AG, 763 F.3d 175, 181

(2d Cir. 2014) (recognizing that Dodd Frank changed the law to be applied in government

enforcement actions under Section 10(b)). 36 Notably, the Banque Paribas standard is more confined,

as it does not provide for extraterritorial application of Section 5 at all and is more targeted than the

broad conduct and effects test. Instead, Banque Paribas applies the SEC’s territorial interpretation of

Section 5 that Morrison cited with approval. 561 U.S. at 268. Banque Paribas adheres to Morrison, and it

is not inconsistent with Absolute Activist, a decision involving private actions under Section 10(b). 37

                3.       Ripple and the Individual Defendants Engaged in Extensive Efforts to
                         Create a Market for XRP in the United States.

        The Individual Defendants violated Section 5 by using U.S. instrumentalities to offer, sell,

and transfer their XRP to U.S. investors. Counter 56.1 ¶¶ 314-37; PX 81; PX 732. Under Banque

Paribas, the foregoing is outside the reach of Section 5 if it did not “have the effect of creating a

market for those securities in the United States.” 147 F.3d at 126. By contrast, using “a U.S. broker

or other U.S. financial entity,” making “solicitations to individuals [they] had reason to suspect were

American[s],” or directing “general sales efforts here,” id., all could indicate domestic violations.




36
       In other words, to the extent Morrison overruled Banque Paribas, Section 929P(b) of Dodd
Frank overruled Morrison in government enforcement actions only under Section 10(b).
37
        In addition, Morrison interpreted Section 10(b) against a blank state, as the SEC had not
interpreted its territorial reach by rule, whereas the SEC has a longstanding rule doing so for Section
5 (Regulation S), a rule that is understood and followed by domestic and foreign issuers to ensure
that foreign offerings are not a backdoor means for sending unregistered securities to U.S. investors.


                                                    72
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 82 of 85



        At the time of their sales, the Individual Defendants were engaging in numerous domestic

acts that had the effect of “creating a market for unregistered securities in the United States.” They

engaged and paid incentives to U.S.-domiciled unregistered trading platforms that made XRP

available to U.S. investors; directed U.S. investors on how to purchase XRP on domestic and foreign

platforms; took no steps to prevent their XRP from being sold to U.S. investors; and allowed GSR

to sell XRP into public markets via unregistered platforms readily accessible to U.S. investors (some

of them registered with FinCEN but not the SEC). Counter 56.1 ¶¶ 85-132, 338-50, 378-435; PX 81

at 24, 310-16, 487; PX 2 at 88-89, 102-103; PX 26 at 130-32; PX 541, 564-67, 580, 583-87, 590, 595,

598, 604-08. The Individual Defendants cannot draw a boundary around their sales on supposedly

foreign-domiciled platforms, having created a U.S. market for XRP.

        Under Banque Paribas’ domesticity test, such facts indisputably establish the Individual

Defendants’ distributions of XRP—no matter where any particular transaction could be

contractually orchestrated with underwriters to be “irrevocable”—were effected such that the

securities came to rest with U.S. investors who were deprived of all the mandated disclosures to

which they were entitled under Section 5. See Banque Paribas, 147 F.3d at 126 (citing Registration of

Foreign Offerings by Domestic Issuers, SEC Release No. 33–4708, 1964 WL 3661 (July 9, 1964)

(stating that “U.S. corporations could safely distribute unregistered securities abroad to foreign

nationals, if distribution were effected so that would result in the securities coming to rest abroad”).

        It is notable that Defendants, a domestic issuer and its domestic affiliates, would advance an

argument that they are not subject to the laws of the United States. The leading treatise on U.S

regulation of international securities transactions explains that even a domestic issuer offering

securities is subject to the highest level of scrutiny to ensure that the offering is truly foreign and is

not a disguised domestic offering, and that the issuer is not engaged in directed selling efforts in the

U.S. that would stimulate a domestic secondary market. See Greene § 8.02. To avail itself of the



                                                    73
       Case 1:20-cv-10832-AT-SN Document 674
                                         841 Filed 10/21/22
                                                   06/13/23 Page 83 of 85



Regulation S safe harbor, a domestic issuer and its control persons must thus meet more stringent

requirements. 38 To allow the Individual Defendants to exclude from Section 5 their sales executed

on unregistered online platforms with certain amorphous “indicia” of being abroad but that

indisputably permit U.S.-based investors (see also infra § III.D), simply by structuring sales

transactions so that trades are matched in the internal recordkeeping of these platforms, at a time

when Ripple was fostering U.S. investor demand for XRP, particularly during 2020 when Ripple was

taking both sides of the XRP market while Garlinghouse was selling his XRP (Counter 56.1 ¶¶ 194-

96, 457, 462; PX 763, 765), would erase Section 5’s registration requirement from the SEC’s

enforcement toolkit in the age of crypto assets.

        D.      The Evidence Underlying the Individual Defendants’ Motion Is Disputed.

        Defendants use opinions of their purported expert, Yadav, as “evidence” of two sets of

“facts” they claim are undisputed. First, Yadav opines that certain unregistered crypto platforms are

foreign. She also posits the Individual Defendants’ sales of XRP on those unregistered platforms

“became irrevocable” abroad at the time the trading platforms matched buy and sell orders because,

according to Yadav, those platforms “lack any significant indicia showing that offers on those

exchanges are made in the United States, or that trades being matched on these exchanges become

final and binding in the United States.” The SEC disputes both sets of “facts,” which are based on

improper, inadmissible opinion testimony. D.E. 536 at 45-51.

        First, Yadav’s opinions are based entirely on a test she invented for this litigation, which, as

explained in the SEC’s motion to exclude, she developed and applied improperly and inconsistently.

Id. at 48-50. She ignores, as one of many examples, that the platforms accept U.S. investors and


38
         It is undisputed that none of the Defendants took any of the steps to comply with
Regulation S. Some of these requirements include requiring the purchasers to certify they are not
U.S. persons and to agree to resell only in accordance with the provisions of Regulation S, pursuant
to registration under the Securities Act or pursuant to an available exemption from registration.



                                                    74
      Case 1:20-cv-10832-AT-SN Document 674
                                        841 Filed 10/21/22
                                                  06/13/23 Page 84 of 85



some are registered with U.S. regulators providing U.S. addresses. See Counter-Statement § IV. For

this reason, Defendants’ assertion that certain crypto asset trading platforms are “foreign” is entirely

conclusory and improper. 39 Nonetheless, even accepting these proffered “facts” as true, the SEC has

shown above that the Individual Defendant’s offers and sales, including those where the ultimate

sale was made through such purportedly foreign trading platforms, were in fact domestic acts.

        Second, Yadav’s opinion that XRP sales on those platforms became irrevocable “on” those

platforms is improper for various reasons, including that, Yadav offers an improper legal conclusion

about where and when irrevocable liability occurs. Next, to arrive at her legal conclusion, Yadav

looks only at her four indicia of location of the crypto platforms themselves, and not at the host of

factors that Morrison, its progeny, and this Court have deemed relevant to determining whether a

transaction is domestic, as set forth above. And, even accepting Yadav’s theory that irrevocable

liability occurs on the platform at the time buy and sell orders are matched, she does not offer any

evidence about where this occurs. Presumably, a purely electronic matching of orders occurs at the

physical location of the trading platform’s computer servers, which Yadav makes no attempt to

determine. In any event, the Individual Defendants became irrevocably bound long before any

orders were matched on a platform’s server. 40

                                           CONCLUSION

        Defendants’ Motion should be denied and the SEC’s Motion should be granted.


39
        Yadav created four “indicia” for where a trading platform is located: (1) place of business,
registered office, and domicile; (2) location “mentioned” in terms of service; (3) the beliefs of
“market participants and the public”; and (4) regulators’ beliefs. D.E. 536 at 45 (quoting Yadav
Report ¶ 103). These indicia obviously cannot reveal where in the world a trading platform is
actually located, as, for example, market participants’ subjective beliefs have no control over where a
platform physically conducts its operations. Yadav tellingly acknowledges that her criteria at times
identify multiple different geographic locations for a single platform. D.E. 615 at 40.
40
        Larsen’s request for summary judgment as to the pre-September 2015 offers and sales he
acknowledges are not at issue, see Def. Br. at 74-75, should be denied as an improper attempt to
obtain an advisory opinion. E.g., United States v. Mashni, 547 F. Supp. 3d 496, 515 (D.S.C. 2021).


                                                   75
   Case 1:20-cv-10832-AT-SN Document 674
                                     841 Filed 10/21/22
                                               06/13/23 Page 85 of 85




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                                   76
